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  11
                                     UNITED STATES DISTRICT COURT
  12
                                   CENTRAL DISTRICT OF CALIFORNIA
  13
  14   ARCONIC INC., et al.,                   Case No. 2:14-CV-06456-GW (Ex)
                                               Assigned to Honorable George H. Wu
  15                           Plaintiffs,
                                               JOINT REPLY IN SUPPORT OF MSJS
  16
       v.                                      RE: CERCLA LIABILITY BY DEFS. (A)
  17                                           PMC SPECIALTIES GROUP, INC. AND
       APC INVESTMENT CO., et al.,             FERRO CORPORATION (PMC
  18
                                               PROPERTY)
  19                           Defendants.     (B) UNION PACIFIC RAILROAD
  20                                           COMPANY (CHRYSLER PROPERTY),
                                               (C) HALLIBURTON AFFILIATES, LLC.;
  21                                           INTERVENORS FIREMAN’S FUND
  22                                           INSURANCE COMPANY AND
                                               FEDERAL INSURANCE COMPANY, AS
  23                                           INSURERS OF PALLEY SUPPLY
  24                                           COMPANY; AND KEKROPIA, INC.
                                               (PATSOURAS PROPERTY)
  25
                                                [Joint Response to Plaintiffs’ Statement of
  26                                            Genuine Disputes; Declarations; Requests for
                                                Judicial Notice; and Requests for Evidentiary
  27                                            Rulings filed concurrently]
  28
                                                                          MOVING DEFENDANTS’
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   1                                     Date:     May 17, 2021
   2                                     Time:     8:30 a.m.
                                         Judge:    The Honorable George Wu
   3                                     Place:    Courtroom 9D, 9th Floor
   4   AND RELATED CROSS
       ACTIONS, COUNTERCLAIMS
   5   AND THIRD-PARTY
   6   COMPLAINTS

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    1   I.       INTRODUCTION
    2            In their Opposition, Plaintiffs assert: “Defendants incorrectly argue that
    3   Plaintiffs must establish that the hazardous substances released from Defendants’
    4   properties actually ended up in OU-2 Groundwater.” (Dkt. 950-1, at 5:10-12).
    5   However, this directly contradicts Plaintiffs’ position – expressed throughout the
    6   course of this action – as to what is required to establish Defendants’ liability under
    7   CERCLA and, in particular, during this phase of the proceedings.
    8            Plaintiffs have consistently acknowledged that to prevail against Defendants
    9   on their claims for contribution and declaratory relief under CERCLA sections
   10   9613(f)(1) and 113(g)(2) (42 U.S.C. § 9613(f)(1) and 42 U.S.C. § 9613(g)(2)), they
   11   must prove Defendants’ responsibility for releases of hazardous substances that
   12   have impacted OU-2 groundwater. For example, Plaintiffs’ Fifth Amended
   13   Complaint alleges that “Defendants are responsible for releases of hazardous
   14   substances to the OU-2 Facility groundwater and therefore should bear the costs to
   15   clean up the resulting contamination.” (Dkt. 526, ¶ 9).
   16            Moreover, Plaintiffs have acknowledged that in this phase of the litigation
   17   the same showing is essential to defeat Defendants’ Motions (or to prevail on their
   18   own motion). In Joint Status Conference Reports filed in April-May 2017,
   19   Plaintiffs reiterated: (i) “the fundamental fact that is essential to the question of
   20   [Defendants’] liability, namely, that releases of hazardous substances from their
   21   respective properties have impacted OU2” (Dkt. 600, pp. 7-8); (ii) “[t]he entire
   22   purpose for the phasing of this case is to ensure that only those Parties that are
   23   responsible for the OU2 regional groundwater contamination advance to a later
   24   phase” (Dkt. 602, p. 3); and (iii) “whether hazardous substance releases from
   25   Defendants’ respective source properties have contaminated regional groundwater
   26   in impacted OU2…should be litigated during the current phase.” (Dkt. 615, n.
   27   2.)(emphasis added). Most recently, Plaintiffs’ affirmative Motion for Summary
   28   Judgment once again conceded that “Plaintiffs seek a judicial determination on …
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    1   whether there has been a release or threatened release of hazardous substances
    2   from the soils at each Defendant’s Source Property [“Properties”] into OU-2
    3   Groundwater.” (Dkt. 903-1, 3:19-24)(emphasis in original).1
    4            As noted, Plaintiffs’ claims against the Moving Defendants under CERCLA
    5   derive from allegations that “the hazardous substances present in the soil at [the
    6   Properties] have migrated and continue to migrate downward into the saturated
    7   zone beneath the property and have come to be located in the groundwater.” (Dkt.
    8   526, ¶ 355). On that basis, Plaintiffs seek recovery of costs “to address the
    9   contamination contributed to the OU-2 Facility by Defendants.” (Id., ¶ 404). As
   10   such, Plaintiffs have acknowledged, under the unique procedural circumstances of
   11   this case, that merely showing threatened or actual releases of hazardous substances
   12   into the soil on any of the Properties cannot be a sufficient basis to establish
   13   liability. Simply stated, Plaintiffs have never incurred (and will never incur)
   14   response costs to address or remediate soil contamination at any of the Properties,
   15   since these Properties have been or are being remediated under regulatory
   16   oversight. Instead, Plaintiffs must prove their allegation that “hazardous substances
   17   present in the soil” at the Properties during the Moving Defendants’ ownership or
   18   operation of the Properties “have migrated and continue to migrate downward” into
   19   OU-2 groundwater.
   20            The “Omega Plume” – the approximately 4.5-mile contaminant plume in
   21   groundwater emanating from the former Omega Chemical facility “that badly
   22   mishandled the chemicals its thousands of customers, like Plaintiffs, sent there…”
   23
   24   1
          This is also entirely consistent with the substance and purpose of the various
        “STIPULATION[S] OF UNDISPUTED FACTS RE LIABILITY UNDER
   25   CERCLA SECTION 113, 42 U.S.C. § 9613” entered into between Plaintiffs and
        various non-moving Defendants who sought to bypass this summary judgment
   26   phase of the proceedings. See, e.g., Dkt. 678. Therein, non-moving Defendants
        stipulated that hazardous substances from their respective “Source Property” were
   27   “spilled, leaked, emptied, escaped, leached, poured, or were emitted, injected,
        discharged, dumped or disposed, into the soil at the … Source Property and into
   28   OU2 [groundwater].” Id., ¶ 9.
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    1   (Plaintiffs’ Brief on Common Issues, Dkt. 903-1, 1:24-28) – was designated by the
    2   United States Environmental Protection Agency (“EPA”) as within the boundaries
    3   of “Operable Unit 2,” or “OU-2.” 2 Faced with overwhelming culpability for the
    4   impacts to, and responsibility for funding cleanup of, the Omega Chemical
    5   Superfund Site (which includes OU-2 groundwater), Plaintiffs now seek to move
    6   the proverbial goal posts by trying to improperly redefine what is at issue in this
    7   phase of the litigation, as well as the applicable liability standards under CERCLA.
    8            However, to be entitled to contribution under CERCLA section 113(f)(1),
    9   Plaintiffs must prove a common liability for the same harm. 3 There can be no
   10   common liability and, correspondingly, no contribution remedy between any of the
   11   parties – including Plaintiffs against Moving Defendants – without commingling of
   12   contaminants from their respective sites in OU-2 groundwater and the Omega
   13   Plume. (See also Opposing Defendants Joint Opposition Brief, Section III.A, Dkt.
   14   930 at 3:9-6:15.) By definition, this requires Plaintiffs to prove – at a minimum –
   15   that releases of hazardous substances from Moving Defendants’ Properties have
   16   actually impaired OU-2 groundwater.4
   17            Despite Plaintiffs’ arguments, they fail to proffer any admissible evidence
   18   sufficient to make this showing or create a triable issue of fact. Therefore, Moving
   19   Defendants seek summary judgment, or alternatively partial summary judgment, on
   20   the grounds that they have no liability for contribution or declaratory relief under
   21
   22   2
          Final Remediation Investigation/Feasibility Study Reports, Omega Chemical
        Corporation Superfund Site, Operable Unit 2, Los Angeles County, California,
   23   Volume 1, CH2M HILL, Aug. 2010, § 8.1.2, p. 8-4; Declaration of Robert B.
        Martin III (“Martin Dec.”), Exhibit 1 (Dkt. 930-1.)
   24   3
          Ironwood Homes, Inc. v. Bowen, 719 F. Supp. 2d 1277, 1293 (D. Or. 2010); see
        also Great Am. Ins. Co. v. Evans, 269 F. Supp. 151, 154 (N.D. Cal. 1967) (“The
   25   right of contribution, where it exists, presupposes a common liability which is
        shared by the joint tortfeasors on a pro-rata basis.”)
   26   4
          Note, however, that Plaintiffs are not entitled to address whether there has been
        any commingling of alleged contaminant releases from each Moving Defendant’s
   27   property with the Omega Plume, that in turn may have caused the incurrence of
        response costs. This issue is beyond the scope of this phase of the litigation. (See
   28   also, Dkt. 930 at 5:5-6:15.)
                                                                            MOVING DEFENDANTS’
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    1   CERCLA section 9613, since there is no evidence that Moving Defendants are
    2   responsible for any hazardous substances that have impacted OU-2 groundwater, let
    3   alone commingled with the Omega Plume.
    4   II.      SUMMARY JUDGMENT STANDARD
    5            Moving Defendants set forth the applicable standard for summary judgment
    6   under Rule 56 of the Federal Rules of Civil Procedure in Section II.A of its Joint
    7   Motion. (Dkt. 902.) Notably, summary judgment serves the important purpose of
    8   “conserv[ing] judicial time and energy by avoiding unnecessary trial and by
    9   providing a speedy and efficient summary disposition” of litigation in which the
   10   plaintiff fails to make some minimal showing that the defendant may be liable on
   11   the claims alleged. Bland v. Norfolk & Southern R.R. Co., 406 F.2d 863, 866 (4th
   12   Cir.1969). “A non-movant’s bald assertions or a mere scintilla of evidence in his
   13   favor are both insufficient to withstand summary judgment.” See FTC v. Stefanchik,
   14   559 F.3d 924, 929 (9th Cir 2009). In addition, the evidence presented by the
   15   opposing party must be admissible. See Fed. R. Civ. P. 56(e). Conclusory,
   16   speculative testimony in affidavits and moving papers is insufficient to raise
   17   genuine issues of fact and defeat summary judgment. See Thornhill’s Publ’g Co.,
   18   Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979).
   19            Here, Plaintiffs have the burden to “designate ‘specific facts showing that
   20   there is a genuine issue for trial.”’ Id. at 324 (quoting Fed.R.Civ.P. 56(e)). To carry
   21   this burden, the non-moving party must “do more than simply show that there is
   22   some metaphysical doubt as to the material facts.” Matsushita Electric Industrial
   23   Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Plaintiffs have not met
   24   this burden.
   25            Accordingly, summary judgment or, in the alternative, partial summary
   26   judgment should be granted in favor of the Moving Defendants on Plaintiffs’
   27   CERCLA claims in the Fifth Amended Complaint because the Plaintiffs cannot
   28   establish that Moving Defendants are CERCLA potentially responsible parties
                                                                            MOVING DEFENDANTS’
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    1   and/or that releases of hazardous substances from Moving Defendants’ Properties
    2   impacted OU-2, let alone commingled with contaminants in the Omega Plume, for
    3   which Plaintiffs allege they have incurred response costs.
    4   III.     LEGAL ARGUMENT
    5            A.        PLAINTIFFS MUST PROVE MORE THAN A “PLAUSIBLE
    6                      MIGRATION PATHWAY” TO ESTABLISH MOVING
    7                      DEFENDANTS’ LIABILITY FOR IMPACTS TO OU-2
    8                      GROUNDWATER
    9            Plaintiffs acknowledge this is a “two-site” case, “where the release or
   10   threatened release of a hazardous substance occurs at one location and the plaintiff
   11   incurs response costs at another.” (Plaintiffs’ Common Issues Brief, Dkt. 903-1 at
   12   11:21-25.) As the Ninth Circuit has not yet established the standard of proof to be
   13   applied in two-site CERCLA cases, Plaintiffs rely on Castaic Lake Water Agency v.
   14   Whittaker Corp., 272 F.Supp.2d 1053 (C.D. Cal. 2003), as the appropriate framework
   15   to evaluate Moving Defendants’ alleged liability under CERCLA. However, the
   16   minimal causal nexus set forth in Castaic does not apply either in this phase of the
   17   litigation or, more generally, to the factual circumstances presented by this case.
   18            First, Castaic’s “plausible migration pathway” discussion referred to the
   19   “causation” element of CERCLA liability which, as noted above, is not at issue in
   20   this phase of the litigation – i.e., whether or not a release of hazardous substances
   21   from a Moving Defendant’s facility caused Plaintiffs to incur response costs.5
   22   Castaic, 272 F. Supp. 2d at 1062. However, as explained below, many courts
   23   “recognize that a plaintiff must provide some evidence linking its response costs to
   24   the … off-site release of contaminants.” Innis Arden Golf Club v. Pitney Bowes,
   25   Inc., 629 F. Supp. 2d 175, 185-87 (D. Conn. 2009)(granting defendant’s motion for
   26   summary judgment.) Here, this means Plaintiffs must at least establish the off-site
   27
        5
          This issue of causation is part of the “Deferred Element” (see infra, Section III.B)
   28   that will be addressed in a subsequent phase of this litigation.
                                                                           MOVING DEFENDANTS’
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    1   release of contaminants from soil at Moving Defendants’ Properties to OU-2
    2   groundwater.
    3            Second, unlike the situation in Castaic, here, Plaintiffs are the responsible
    4   parties for the overwhelmingly primary, upgradient source of groundwater
    5   contamination. In fact, the case the Castaic court found “most instructive”
    6   illustrates why:
    7
                 “The plaintiff must prove only that contaminants which were once in
    8            the custody of the defendant could have travelled onto the plaintiff’s
    9            land, and that subsequent contaminants (chemically similar to the
                 contaminants once existing in defendant’s custody) on plaintiff’s land
   10            caused the plaintiff to incur response costs.”
   11   Id. at 1065, quoting Western Assocs. Ltd. Pshp. v. Washington Suburban Sanitary
   12   Comm’n, 66 F.3d 669, 681 (4th Cir. 1995)(emphasis added, citations omitted).6
   13            Instead, a CERCLA “two-site” case – or, more accurately, a “multi-site”
   14   case, such as here – is one in which the plaintiff “contends not that the defendant
   15   directly dumped or otherwise disposed of its wastes at the site but rather that
   16   hazardous materials migrated there from the defendant’s facility or from a different
   17   dumpsite elsewhere.” Solutia, Inc. v. McWane, Inc., 2012 WL 2031350, at *8
   18   (N.D. Ala. June 1, 2012). In multi-site cases, because “it may be ‘much less
   19   obvious how [a defendant] could be responsible for contamination of the [site
   20   where the plaintiff has incurred response costs],’” courts have required plaintiffs to
   21
        6
          Plaintiffs cannot allege that hazardous substances from Moving Defendants’
   22   properties migrated in groundwater upgradient towards the Omega property, nor do
        they allege that hazardous substances from Moving Defendants’ properties
   23   migrated in groundwater to any downgradient facility that Plaintiffs own or operate.
        Plaintiffs solely allege that Moving Defendants caused releases of hazardous
   24   substances to soil, which in turn impacted OU-2 groundwater. In addition, while
        Plaintiffs allege that OU-2 groundwater is a CERCLA “facility,” the Castaic court
   25   held otherwise. The defendant in Castaic brought counterclaims against the
        downgradient plaintiffs as potentially responsible parties on the basis that the
   26   contaminated groundwater in the area was a CERCLA “facility.” The court
        disagreed: “Groundwater6 is neither a ‘site’ nor an ‘area,’ at least as those terms are
   27   commonly understood.” The court ruled that to characterize the groundwater as a
        facility “stretches the definition beyond reason and common sense.” Id.
   28
                                                                             MOVING DEFENDANTS’
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    1   prove that a release for which the defendant is responsible at one site (here, the soil
    2   on each Moving Defendant’s property) caused the contamination of the second site
    3   (here, the Omega Plume). Id.
    4            Many other decisions are in accord with this causal approach. For example,
    5   as previously noted the Sixth Circuit held that “[i]n a “two-site” [or multi-site] case
    6   such as this, where hazardous substances are released at one site and allegedly
    7   travel to a second site, in order to make out a prima facie case, the plaintiff must
    8   establish a causal connection between the defendant’s release of hazardous
    9   substances and the plaintiff's response costs incurred in cleaning them
   10   up.7 Kalamazoo River Study Group v. Rockwell Int'l Corp., 171 F.3d 1065, 1068
   11   (6th Cir.1999)(emphasis added)(granting defendants’ motion for summary
   12   judgment based on lack of causal connection between defendant’s alleged release of
   13   hazardous substances and plaintiff’s response costs); see also Innis Arden Golf
   14   Club, 629 F. Supp. 2d at 185-87 (D. Conn. 2009).
   15            Importantly, in granting summary judgment on the grounds the opposing
   16   party “cannot produce more than a scintilla of evidence at this time,” the court in
   17   Thomas v. FAG Bearings, 846 F. Supp. 1382, 1386-87, 1399 (W.D. Mo. 1994)
   18   observed:
   19
                 “[u]se of the strict liability presumption ... without modification would
   20            hold liable anyone who released the same type of substance that has
   21            contaminated another site. A party who discovers TCE groundwater
                 contamination in Missouri could successfully sue every party who
   22            released TCE in the entire country. Although CERCLA's liability
   23            provisions are far-reaching, there is no indication that Congress
                 intended this absurd result.”
   24
   25   Id., 846 F. Supp. at 1386–87 (citations and footnote omitted); see also Innis, 629 F.

   26
        7
          Further support for this principle is found in the plain text of CERCLA section
   27   107, which provides in part that liability attaches based on a “release, or a
        threatened release which causes the incurrence of response costs.” 42 U.S.C. §
   28   9607(a)(4).
                                                                             MOVING DEFENDANTS’
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                                                                           JOINT REPLY ISO OF MSJS
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    1   Supp. 2d at 185-86. Along similar lines, in Acushnet Co. v. Coaters Inc., 937
    2   F.Supp. 988 (D.Mass.1996), the district court rejected the notion that a plaintiff in a
    3   multi-site case need not prove causation:
    4
                 “Under Plaintiffs’ legal theory, as long as any response costs are being
    5            incurred by a plaintiff, any party that disposed of any hazardous
    6            substance is liable to compensate that plaintiff. It does not matter what
                 type or amount of hazardous substance was disposed of by the party.
    7            Any hazardous substance in any quantity will open the floodgates of
    8            liability, and will do so even if the hazardous substance disposed of by
                 the party is not causing any harm, is not threatening to cause any harm,
    9            and is not any part of the reason a response is needed and costs of that
   10            response are incurred.... Plaintiffs’ theory is not supported by statute,
                 by precedent, or on policy grounds consistent with statutes and
   11            precedents.
   12
        Id. at 993.8
   13
                 In other words, in a multi-site CERCLA case, a plaintiff seeking contribution
   14
        must prove that a hazardous substance released from a defendant’s facility caused
   15
        plaintiff to incur response costs. This is entirely consistent with the notion that, at
   16
        this stage of the proceedings, to sustain their CERCLA claims against Moving
   17
        Defendants, Plaintiffs must prove that hazardous substance releases from Moving
   18
        Defendants’ Properties migrated from soil and actually impacted OU-2
   19
   20
   21   8
          Other courts confronted with an issue of causation as framed in this manner
        similarly recognize that a plaintiff must provide some evidence linking its response
   22   costs to the off-site release of contaminants. See, e.g., White v. County of
        Newberry, 985 F.2d 168, 174–75 (4th Cir.1993) (requiring plaintiffs to prove
   23   release or threatened release of hazardous substance that caused incurrence of
        response costs); Dedham Water Co. v. Cumberland Farms Dairy, Inc., 972 F.2d
   24   453, 459–60 & n.3 (1st Cir.1992)(affirming district court's focus “on whether
        [defendant] somehow, or in some way, caused [plaintiff] to incur response costs”
   25   and noting that “without an affirmative finding of fact causally connecting these
        costs to a threat posed by [defendant], [plaintiff’s CERCLA] claim is necessarily
   26   stillborn”); Amoco Oil Co. v. Borden, Inc., 889 F.2d 664, 670 (5th Cir.1989) (“the
        question of whether a release has caused the incurrence of response costs should
   27   rest upon a factual inquiry into the circumstances of a case and the relevant factual
        inquiry should focus on whether the particular hazard justified any response
   28   actions.”).
                                                                             MOVING DEFENDANTS’
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    1   groundwater.9 Plaintiffs have presented no such evidence, let alone evidence that
    2   any alleged releases of hazardous substances from any Moving Defendant’s
    3   property have commingled with the Omega Plume. In the absence of such evidence,
    4   Moving Defendants are entitled to summary judgment.
    5            B.        PLAINTIFFS IMPROPERLY SEEK TO ESTABLISH IN THIS
    6                      PHASE OF THE LITIGATION COMMON LIABILITY
    7                      AGAINST MOVING DEFENDANTS FOR RESPONSE COSTS
    8            In 2017, the parties agreed to segregate this litigation into phases.
    9   Specifically, the parties agreed this phase would be limited to whether: (1) each
   10   Moving Defendant’s property is a “facility,” (2) there was a release or threatened
   11   release of hazardous substances at or from each Moving Defendant’s property into
   12   any part of OU-2 (as opposed to commingling with the Omega Plume), and (3)
   13   each Moving Defendant falls within one of four classes of “persons” subject to
   14   liability under CERCLA, 42 U.S.C. Section 9607(a). 10
   15            The parties agreed to defer to a later phase “whether the release or threatened
   16   release caused Plaintiffs to incur response costs that were necessary and consistent
   17   with the National Contingency Plan” (“Deferred Element”), at which point
   18   Plaintiffs would necessarily have to prove that each Moving Defendant’s
   19   contaminants that reached OU-2 commingled with the Omega Plume.
   20            This conclusion follows from the legal requirement that to be entitled to
   21   contribution pursuant to CERCLA section 113(f)(1), 42 U.S.C. § 9613(f)(1),
   22
   23
        9
          As indicated earlier, Union Pacific’s principal case for summary judgment as to
   24   the Chrysler Property is slightly different from the other Moving Defendants.
        Union Pacific maintains that Plaintiffs cannot establish Union Pacific is a CERCLA
   25   liable party because the only plausible source of OU-2 groundwater contamination
        from the Chrysler Property was a clarifier installed after Union Pacific sold the
   26   Chrysler  Property.
        10
           See Parties’ Joint Status Conference Report filed on April 21, 2017 (Dkt. 600),
   27   the Parties’ Supplemental Joint Status Conference Report filed on April 26, 2017
        (Dkt. 602), and the Parties’ Joint Status Conference Report filed on May 22, 2017
   28   (Dkt. 615).
                                                                              MOVING DEFENDANTS’
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    1   Plaintiffs must prove a common liability for the same harm. 11 Put another way,
    2   there are multiple sites or multiple harms in the OU-2 area, each subject to site-
    3   specific cleanup requirements under regulatory oversight (in fact each of the
    4   Moving Defendants’ properties has either been or is currently subject to a State-
    5   approved cleanup plan). As among all of these sites there is no common liability
    6   and, correspondingly, no contribution remedy between Plaintiffs and any of the
    7   Defendants unless contaminants from a Defendant’s property has commingled with
    8   the Omega Plume. See J & J Sports Productions, Inc. v. Rivera, No. 6:13-CV-
    9   01996-AA, 2014 WL 2809844, at *6 (D. Or. June 18, 2014) (“As such, “[a] party
   10   seeking contribution must prove it has a ‘common liability’ with the party from
   11   whom the contribution is sought…. Because common liability is lacking … motion
   12   [for summary judgment] is granted as to … [the] contribution claim”); Ironwood
   13   Homes, Inc. v. Bowen, 719 F. Supp. 2d 1277, 1293 (D. Or. 2010)(party seeking
   14   contribution must prove it has “common liability” with party from whom
   15   contribution is sought); Great Am. Ins. Co. v. Evans, 269 F. Supp. 151, 154 (N.D.
   16   Cal. 1967) (“The right of contribution, where it exists, presupposes a common
   17   liability which is shared by the joint tortfeasors on a pro-rata basis”).
   18            As addressed in Moving Defendants’ Joint Motions (Dkt. 902), Plaintiffs
   19   cannot prove that hazardous substances released to soil (for which a Moving
   20   Defendant is responsible), if any, at Moving Defendants’ Properties actually
   21   impacted OU-2 groundwater. Beyond this, Plaintiffs have not submitted any
   22   evidence that hazardous substances released from any Moving Defendant’s
   23   property have commingled with the Omega Plume (the contaminant plume
   24   originating from the Omega Chemical facility). Additionally, as to the Deferred
   25
   26   11
          Restatement Third § 23(a); Ironwood Homes, Inc. v. Bowen, 719 F. Supp. 2d
        1277, 1293 (D. Or. 2010); see also Great Am. Ins. Co. v. Evans, 269 F. Supp. 151,
   27   154 (N.D. Cal. 1967) (“The right of contribution, where it exists, presupposes
        a common liability which is shared by the joint tortfeasors on a pro-rata basis.”).
   28
                                                                            MOVING DEFENDANTS’
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    1   Element, Plaintiffs have yet to prove the incurrence of response costs to address any
    2   alleged commingling of any release of contaminants from Moving Defendants’
    3   Properties into OU-2 groundwater that mixed with the Omega Plume. 12 In short,
    4   Plaintiffs cannot establish as a matter of law that common liability exists under
    5   CERCLA as against Moving Defendants for any OU-2 response costs they have
    6   incurred or may incur in the future.
    7            C.        COMMON LIABILITY FOR PLAINTIFFS’ RESPONSE COSTS
                           CANNOT EXIST AS A MATTER OF LAW, ENTITLING
    8
                           MOVING DEFENDANTS TO SUMMARY JUDGMENT
    9
                 Plaintiffs rely on the expert opinions of Robert Mutch. (Dkts. 903-204
   10
        (“Mutch Report”) and 950-1, Section II.B.) However, Mr. Mutch admits he made
   11
        no attempt to address the potential commingling of hazardous substances that
   12
        reached OU-2 groundwater and allegedly originated from any Moving Defendant’s
   13
        property with the Omega Plume. (See generally Dkt. 930, Section III.C.) By his
   14
        own admissions, this means the absence of commingling of any contaminant
   15
        releases from the Moving Defendants’ properties with the Omega Plume. In fact,
   16
        according to Mr. Mutch, he didn’t “particularly care, honestly, whether those
   17
        upgradient constituents at a particular property came from the Omega site …” 13
   18
                 While not directly at issue during this phase of the litigation, based on Mr.
   19
        Mutch’s admissions, Plaintiffs lack sufficient evidence to establish any “pathway”
   20
        necessary to demonstrate common liability for response costs. Therefore, even if
   21
        common liability for response costs were at issue in this phase of the litigation,
   22
        Moving Defendants’ motions should be granted because Plaintiffs have presented
   23
        no evidence that hazardous substances that may have been released from Moving
   24
        Defendants’ Properties have commingled with hazardous substances originating
   25
        from the Omega Property, namely the Omega Plume.
   26
   27   12
             As noted above, this determination is not yet at issue in this phase of the case.
   28   13
             Mutch Depo. at 64:4-9, Martin Dec., Ex. 2 (Dkt. 930-1).
                                                                              MOVING DEFENDANTS’
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    1   IV.      CONCLUSION
    2            Based on the foregoing, Moving Defendants respectfully seek the granting of
    3   summary judgment, or alternatively partial summary judgment, in their favor on the
    4   grounds that they have no liability for contribution or declaratory relief under
    5   CERCLA section 9613.
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    1               PMC PROPERTY DEFENDANTS’ REPLY IN SUPPORT OF
    2                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                                                  MOVING DEFENDANTS’
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    1   I.       PMC SUMMARY OF THE ARGUMENT
    2            Groundwater flow direction and the transport of contamination in
    3   groundwater are not the same. Mr. Mutch, Plaintiffs’ expert, spends countless
    4   pages in his rebuttal report trying to conflate the two. However, when deposed he
    5   concedes as he must, that the modeling and mapping of groundwater flow direction
    6   by drawing groundwater flow arrows “is not akin to contaminant transport” from
    7   Point A to Point B. Declaration of Earl Hagström in Support of Moving
    8   Defendants Reply in Support of Moving Defendants Motion for Summary
    9   Judgment re CERCLA Liability (“Hagström Reply Decl.”) ¶ 3, Exh. G, Mutch
   10   Depo VII, p. 825:3-6. “It’s just the how it is (sic) the groundwater flows. Id. The
   11   groundwater modeling relied upon by Mr. Mutch does not take into account the
   12   “diffusion, biodegradation, retardation and other factors” that “you include” in
   13   “contaminant transport modeling”. Id. Those models only simulate groundwater
   14   flow direction not contaminant transport. Flow lines are just flow lines. Id. at pp.
   15   838:25; 839:1-16.
   16            Plaintiffs’ case rises and falls on their ability to prove that contaminants, not
   17   just groundwater, were transported from Point A, the PMC Property, to Point B, the
   18   OU-2 Plume. The burden to do so is Plaintiffs. 1 Even under the most liberal
   19   standard Plaintiffs have not met their burden. Knowing this to be true Mr. Mutch
   20   speculates that if Plaintiffs were to install an unspecified number of wells, to an
   21   unknown depth, with unknown pumping capacities and unknown capture zones,
   22   these hypothetical wells “threaten” to pull contamination from the PMC Property
   23   into OU-2. Id. at 877:24-25; 878:1-14; 834: 9-25; 835:1-5. Speculation piled upon
   24
   25
   26
        1
          On summary judgment, the defense burden is triggered if plaintiff:
        (a) identifies [a] contaminant at its site, (b) identifies the same (or perhaps a
   27   chemically similar) contaminant at the defendant’s site, and (c) provides evidence
        of a plausible migration pathway by which the contaminant could have traveled
   28   from the defendant’s facility to the plaintiff’s site. Castaic Lake, 272 F. Supp. 2d at
        1066.
                                                                              MOVING DEFENDANTS’
        88151-00029/4003405.2                        15
                                                                            JOINT REPLY ISO OF MSJS
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    1   speculation only serves to underscore the fallacy of Plaintiffs’ claims, not bolster
    2   them.
    3            Plaintiffs urge the Court to apply the liberal burden shifting “plausible
    4   pathway” standard here. At a minimum, to shift the burden from Plaintiffs to PMC
    5   Plaintiffs must first prove a “plausible pathway” exists. Plaintiffs have neither
    6   shown a plausible pathway exists for contaminants to be transported from the PMC
    7   Property to OU-2 exists now nor that a realistic threat exists that they will be
    8   transported in the future. Groundwater flow direction, the foundation of Plaintiffs
    9   Opposition, alone is not enough.
   10            When questioned on the source of contaminants Mr. Mutch plotted on Figure
   11   2-18 (Id. ¶ 4, Ex. H2, Relevant Figures from Mutch Rebuttal Report) he admits that
   12   he has not done the “careful analysis” [to determine the contaminant source],
   13   which would include “field work” … additional drilling, well construction, soil
   14   sampling, and I think certain forensic technologies, certainly chemical
   15   fingerprinting, probably compound specific isotope analysis, what we call CSIA
   16   analysis in selected wells” to determine the source of the contamination shown in
   17   the area immediately adjacent to the OU-2 boundary as drawn by Mr. Mutch on
   18   Figure 2-18.3 Id. ¶ 3, Ex. G., Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-
   19   18.
   20            A potential source of the contaminants, if one cared to look at the data, is the
   21   former drum recycling operations on what is commonly known as the “Beaumon
   22   Trust Property” from 1971 to 1984, located in the middle of Figure 2-18.4
   23   2
          The yellow highlights on the version attached to the Hagström Reply Declaration
   24   were added by PMC and reflect those results which were unavailable, unreliable,
        estimated,  and/or below the detection limit.
   25
        3
          Mr. Mutch does complain that Mr. Vogl has not completed that kind of analysis.
        Hagström Reply Decl. ¶ 3, Ex. G., Mutch Depo VII at p. 861:11-14. However, that
   26   begs the issue of Plaintiffs’ burden to show that more than just groundwater has or
        may threaten to reach OU-2. The groundwater must transport contaminants from
   27   the PMC Property, otherwise it’s just water.
        4
          In July 2006, the Community Development Commission of the City of Santa Fe
   28   Springs (CDC) entered into an Administrative Settlement Agreement and Order on
        Consent (Administrative Settlement Agreement) with the California Environmental
                                                                             MOVING DEFENDANTS’
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    1   “Chemical compounds, including compounds originating from drums collected
    2   from an Ameron facility in Brea, California, were released to the subsurface on and
    3   near 12525 Park Avenue by the drum recycling activities.” Id. ¶ 5, Ex. I., IRAW
    4   Completion Report at p. 1. “Inspections performed at the time by the City of Santa
    5   Fe Springs and the Los Angeles County Department of Health Services indicated
    6   leakage of liquids to the underlying soil on the unpaved lot”. Id.
    7            The data confirms that Phenol and 2, 4, Dimethylphenol, identified by Mr.
    8   Mutch as PMC Marker Chemicals are found in 75 soil samples collected from
    9   ground surface to 30 feet below ground surface at the Beaumon Trust Property. Id.
   10   ¶ 5, Ex. J., IRAW Report, at Tables 5A and 11A; Figures 5 – 10. The same holds
   11   true for Benzene and Naphthalene. Id. The presence of these contaminants in soil
   12   demonstrate the contaminants were released and disposed of at the Beaumon Trust
   13   Property. Data, not speculation or surmise by Plaintiffs litigation expert, is the
   14   basis upon which to determine the source of the Phenol, 2, 4 Dimethylphenol,
   15   Benzene and Naphthalene shown on Figure 2-18. Id. ¶ 4, Ex. H. If these chemicals
   16   have reached OU-2 and Mr. Mutch’s Figure 2-18 indicates they have not, the
   17   source is the former drum recycling facility that operated on the Beaumon Trust
   18   Property. Groundwater flow direction alone is not enough for Plaintiffs to meet
   19   their burden to prove PMC is the source and prevail.
   20            Furthermore, the “colored pie charts” shown on Figure 2-18 provide
   21   additional data demonstrating that, not only is PMC not the source of the
   22   contaminants, but that the contaminants disposed of and released between 37 and
   23   50 years ago at the Beaumon Trust Property (the drum recycling facility operated at
   24   the site between 1971 and 1984) have not reached the OU-2 Plume. This is true
   25   despite being located a mere few hundred feet from OU-2 as drawn by Mr. Mutch.
   26   The test data collected from 4 of the 13 wells located inside the OU-2 Plume
   27   boundary are reported as “either not detected or not analyzed”. Id. The other 9
   28   Protection Agency Department of Toxic Substances Control (DTSC).
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    1   wells located on or adjacent to the OU-2 Plume boundary are reported as being
    2   “estimates and below the reporting limits”. Id. ¶ 4, Ex. H, at Fig. 2-18. The test
    3   data relied upon by Mr. Mutch are unreliable, they are what are commonly known
    4   as “J” values, which are considered by professionals like Mr. Mutch to be below
    5   “normal accuracy,” i.e., unreliable. Id. ¶ 3, Ex. G, Mutch Depo VII, at p. 816:12-
    6   20. In other words the test data from the 13 wells Mr. Mutch relies upon to support
    7   his claims that “PMC Marker Chemicals” have reached the OU-2 Plume consist of
    8   wells with unreliable test data and wells with Non-Detect data of contaminants
    9   released by someone other than PMC. Mr. Mutch’s claim that his Figure 2-18
   10   supports Plaintiffs’ claim that a “plausible pathway” exists between the PMC
   11   Property and OU-2 is rank speculation. The data proves otherwise.
   12            In both his rebuttal report and deposition testimony Mr. Mutch disputes Mr.
   13   Vogl’s expert opinion that contaminants from the PMC Property have not and will
   14   not reach the OU-2 Plume because Mr. Vogl’s opinion lacks scientific rigor and
   15   should be discounted or ignored. Mr. Vogl relied upon actual test data in support of
   16   his opinions not models. The court need only consider the lack of scientific rigor
   17   underlying Mr. Mutch’s opinions to conclude that Plaintiffs have not met their
   18   burden to prove a “plausible pathway” exists.
   19            As Mr. Mutch testified in his deposition groundwater flow direction is not
   20   the same as contaminate transport. Mr. Mutch’s “plausible pathway” opinion relies
   21   only upon modeling of groundwater flow direction. Id. ¶ 4, Ex. H, Mutch Rebuttal
   22   Report Figures, at Figs. 2-5, 2-6 2-7, 2-8 and 2-9. Neither of the reports relied upon
   23   by Mr. Mutch address the fate and transport of contaminants:
   24
                       “… the groundwater-flow and particle tracking model simulates
   25
                       advective transport only. It does not simulate physical processes
   26                  that may affect solute migration, such as hydrodynamic
   27                  dispersion and diffusion, and does not simulate chemical or

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    1                  biological processes that may affect the fate and transport of
    2                  contaminants”. 5
        Id. ¶ 4, Ex. K, USGS Report, at p. 52. In other words the modeling that forms the
    3
        foundation for Mr. Mutch’s opinions, only predicts groundwater direction. The
    4
        models do not address what contaminants, if any, the groundwater is or is not
    5
        transporting. Even if the direction of groundwater in the vicinity of the PMC
    6
        Property flows in the general direction of OU-2, and as claimed by Mr. Mutch, is
    7
        not deflected by the Santa Fe Anticline, which it is (Docket No. 902-66, Exhibit M
    8
        to the Declaration of Richard Vogl in Support of Defendants PMC’s Motion for
    9
        Summary Judgment re CERCLA Liability (“Vogl Decl.”)), unless that groundwater
   10
        is transporting contaminants from the PMC Property – it’s just water.
   11
        To recap, Mr. Mutch relied upon nine wells with “J” values, four wells with Non-
   12
        Detect data, speculation that an undefined remediation system, which may or may
   13
        not be built by Plaintiffs more than a half-mile away from the PMC Property with
   14
        an unknown number of wells of unknown pumping capacity and capture zones may
   15
        draw contaminants from the PMC Property into the OU-2 Plume. Mr. Mutch takes
   16
        this speculation and piles it upon Groundwater Flow Lines, which Mr. Mutch
   17
        agrees only show direction not whether contaminants are being transported in
   18
        groundwater to reach the conclusion that contaminants in the OU-2 Plume, known
   19
        to have migrated downgradient after having been released and disposed of at OU-1,
   20
        actually came from PMC. Moreover, the distance, as measured by the Groundwater
   21
        Direction Flow arrows relied upon by Mr. Mutch in his “plausible pathway” theory
   22
        demonstrate that groundwater would have to travel between 5,000 feet and 10,000
   23
        feet horizontally to reach the outer edge of the OU-2 Plume, and even then – it’s
   24
   25
   26
   27
        5
         The Final Groundwater Flow Model Development and Calibration Report:
        INTERA May 2020, which Mr. Mutch also relies upon is also limited to
   28   groundwater flow direction and particle tracking. Like the USGS Report it does not
        consider or simulate the “fate and transport of contaminants”.
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    1   just water.6 Hagström Reply Decl., ¶ 4, Ex. H, Mutch Rebuttal Report Figures, at
    2   Figs. 2-5 and 2-8.
    3            Even applying the most liberal “plausible pathway” standard as Plaintiffs
    4   urge, Plaintiffs have failed to meet their burden of proof. Because Plaintiffs have
    5   not and cannot meet their burden under Castaic Lake there no basis to shift the
    6   burden to PMC to “disprove causation”, a burden PMC has nonetheless met.
    7   II.      APPLICABLE LEGAL STANDARD AND COMMON FACTS
    8            A.  Legal Standard
    9            PMC adopts the legal standard set forth in the common section of this brief.

   10            B.        Common and PMC Property Specific Facts
   11            The PMC Property lies outside of the OU-2 Plume, unlike those of its co-
   12   defendants. The contaminants Plaintiffs allege have been transported from the
   13   PMC Property to the OU-2 Plume would have to be transported several thousand
   14   feet horizontally through low permeability strata and hundreds of feet vertically to
   15   reach the outer edge of the OU-2 Plume. Plaintiffs do not dispute these facts and in
   16   fact, Mr. Mutch’s rebuttal report confirms them.
   17            PMC otherwise adopts the common facts set forth in the common section of
   18   this brief.
   19   III.     ARGUMENT
   20            A.        Plaintiffs Have Not Met Their Burden Of Proof
   21            Plaintiffs apparently believe all they need prove to prevail is to allege that
   22   “Chemical A is present in the OU-2 Plume and Chemical A is present at a
   23   Defendant’s Property” or that at “some undefined time in the future Chemical A
   24   may threaten OU-2” - therefore they win. Docket No. 950-1, Plaintiffs’
   25   Memorandum of Points and Authorities in Opposition to Joint Motions for
   26   Summary Judgment (“Plaintiffs’ Opposition”), pp. 5-6. Plaintiffs must prove much
   27
   28
        6
         Hagström Reply Decl., ¶ 4, Ex. H, Figure 2-6 of the Mutch Rebuttal Report shows
        the transport distance approaches 16,000 feet.
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    1   more. Plaintiffs must, with admissible evidence, prove that Chemical A has been
    2   transported (migrated) from a Defendant’s Property and comingled with chemicals
    3   in OU-2 groundwater that were released and disposed of at OU-1 and migrated
    4   downgradient in OU-2 groundwater. No groundwater modeling or Groundwater
    5   Flow Lines are necessary to prove Plaintiffs are the source of the contamination in
    6   OU-2, their own data proves that. Plaintiffs must prove contaminants from the
    7   PMC Property have been transported between 5,000 feet and 10,000 feet
    8   horizontally and have comingled with OU-2 groundwater otherwise, it’s just
    9   water…. 7 Hagström Reply Decl., ¶ 4, Ex. H, Mutch Rebuttal Report Figures, at
   10   Figs. 2-5 and 2-8.
   11            Even applying the liberal standard Plaintiffs urge the court to adopt, Plaintiffs
   12   have not and cannot meet their burden to prove that a “plausible pathway” exists for
   13   contaminants to be transported thousands of feet from the PMC Property to the OU-
   14   2 Plume or that an actual and definable threat exists the contaminants will be
   15   transported into the OU-2 Plume at some undefined time in the future. Plaintiffs
   16   rely solely upon the burden shifting approach in Castaic Lake Water Agency v.
   17   Whittaker Corp. 272 F.Supp.2d 1053, (C.D. Cal. 2003) to support their claims. To
   18   avail themselves of this approach Plaintiffs agree they must first “provide evidence
   19   of a plausible migration pathway by which the contaminant could have traveled
   20   from the defendant’s facility to OU-2 Groundwater.” Citing Castaic Lake, 272
   21   F.Supp.2d at 1066. Plaintiffs’ Opposition, p. 6:18-20 lines 18-20. Plaintiffs have
   22   not met their burden with regard to the PMC Property.
   23         PMC’s alleged liability requires that contaminants from the PMC Property be

   24   transported in groundwater across the OU-2 Plume boundary. While groundwater
        in the immediate vicinity of the PMC Property may flow in the general direction of
   25
        the OU-2 Plume and there may be groundwater models that Mr. Mutch used to
   26
   27
   28
        7
          Hagström Reply Decl., ¶ 4, Ex. H, Figure 2-6 of the Mutch Rebuttal Report shows
        the transport distance approaches 16,000 feet.
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    1   draw his Groundwater Flow Direction arrows, unless that groundwater is
    2   transporting contaminants from the PMC Property more than a mile down gradient
    3   the flow direction is irrelevant. It is just the direction that the water is projected to
    4   flow. Contaminants from the PMC Property must be transported across the OU-2

    5   Plume boundary, otherwise it’s just water, and water alone does not make PMC a
        source of the contaminants found in OU-2 groundwater.
    6
    7            Realizing they have not met their burden that contaminants have been
        transported from the PMC Property, Mr. Mutch then speculates that if Plaintiffs
    8
        were to install an unspecified number of wells, to an unknown depth, with unknown
    9
        pumping capacities and unknown capture zones, these hypothetical wells “threaten”
   10
        to pull contamination from the PMC Property into OU-2. Hagström Reply Decl. ¶
   11
        3, Exh. G, Mutch Depo VII at 877:24-25; 878:1-14; 834: 9-25; 835:1-5.
   12
                 Speculation piled upon speculation only serves to underscore the fallacy of
   13
        Plaintiffs’ claims, not bolster them.
   14           Having not met their burden under the standard of their choice there is no
   15   burden to shift and PMC’s motion should be granted.
   16            B.        Plaintiffs’ Expert Rebuttal Report Supports PMC’s Position That
   17                      Contaminants From The PMC Property Have Not Reached The
   18                  OU-2 Plume
   19            Data from Plaintiffs’ expert rebuttal report supports PMC’s position that
   20   contaminants from the PMC Property have not been transported into the OU-2
   21   Plume. Plaintiffs claim that four “PMC Marker Chemicals” have made their way
   22   into the OU-2 Plume. That is not the case and data from Mr. Mutch’s rebuttal
   23   report demonstrates none have done so. The four contaminants Plaintiffs alleged
   24   have been transported, Benzene, Naphthalene, Phenol and 2, 4, Dimethylphenol

   25   would, based upon Mr. Mutch’s depiction of “Groundwater Flow Line[s]”
        (Hagström Reply Decl., ¶ 4, Ex. H, Fig. 2-5; Fig. 2-8) have to travel between 5,000
   26
        and 10,000 feet from the PMC Property to reach the OU-2 Plume Boundary. 8 The
   27
   28   8
            The distance when measured from PMC-MW-5 is approximately 5,000 feet. The
                                                                             MOVING DEFENDANTS’
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    1   distances shown on Figure 2-6 approach 16,000 feet. Id. ¶ 4, Ex. H, Fig. 2-6. PMC
    2   does not dispute that these chemicals are present on the PMC Property and that they
    3   have migrated a short distance off of the PMC Property.
    4              There is however, no soil or groundwater test data cited by Mr. Mutch,

    5   because there is none, that shows that any of these four have been transported 5,000
        to 10,000 feet down gradient into the OU-2 Plume. It is important to keep in mind
    6
        that groundwater flow direction mapped by Mr. Mutch is just that - flow direction.
    7
        The “Groundwater Flow Line[s]” drawn by Mr. Mutch do not mean that
    8
        contaminants are being transported in tandem with groundwater. Contaminant
    9
        transport, also known as “fate and transport” is a separate and distinct issue. Id. ¶ 3,
   10
        Ex. G, Mutch Depo VIII, p. 825:3-6. Mr. Mutch admits he has not undertaken a
   11
        “fate and transport” analysis. Id. p. 840:13-16. Data, maps and figures from Mr.
   12   Mutch’s rebuttal report demonstrate that no such transport of contaminants from the
   13   PMC Property has occurred.
   14
                           1.   Benzene
   15
                 Plaintiffs and Mr. Mutch claim that Benzene is present in OU-2 however,
   16
        neither identifies where or at what concentration, but they do claim t it is present.
   17
        They also claim that Benzene is present in soil and groundwater at the PMC
   18
        Property. PMC does not dispute Benzene has been detected on its property.
   19
        Plaintiffs and Mr. Mutch also claim that Benzene has migrated off of the PMC
   20
        Property. Docket No. 949-80, Appendix A – Mutch PMC Property Addendum
   21
        (“Mutch PMC Addendum”), p. 25, Fig. 1-4. PMC does not dispute that Benzene
   22
        has migrated a short distance off its property.
   23
                 Figure 1-4 from Mr. Mutch’s rebuttal report provides data showing that the
   24
        Benzene concentrations in groundwater are Non-Detect in MW-12. Id. MW-12 is
   25
        located approximately 1100 feet downgradient from T-81, identified as an UST that
   26
        stored Benzene on Figure 1-4. MW-12 sits several hundred feet from the eastern
   27
   28   distance when measured from PMC-MW-3 is approximately 10,000 feet.
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    1   most edge of the OU-2 Plume boundary as drawn by Plaintiffs. The “Groundwater
    2   Flow Direction” arrow points in the direction of MW-12. If as Plaintiffs and Mr.
    3   Mutch contend, groundwater flow direction proves that a plausible pathway exists
    4   between the PMC Property and the OU-2 Plume then Benzene should be present in
    5   MW-12, and it is not. Furthermore, the data from wells located between MW-12
    6   and the OU-2 Plume report a series of Non-Detects and/or “J” values for Benzene,
    7   adding additional support for PMC’s position that Benzene in OU-2 did not migrate
    8   from the PMC Property. Hagström Reply Decl., ¶ 4, Ex. H, Figures to Mutch
    9   Rebuttal Report Fig. 2-18.
   10                      2.   Naphthalene, Phenol and 2, 4 Dimethylphenol
   11            Soil sample test data confirms that Naphthalene, Phenol and 2, 4,
   12   Dimethylphenol, identified by Mr. Mutch as “PMC Marker Chemicals,” are found
   13   in 75 soil samples at the Beaumon Trust Property located between the PMC
   14   Property and the OU-2 boundary. These soil samples were collected from the
   15   surface to 30 feet below ground surface. 9 The presence of these contaminants in
   16   soil beneath the former drum recycling facility, which operated for 13 years,
   17   demonstrate the contaminants were released and disposed of on the Beaumon Trust
   18   Property and did not migrate from elsewhere. Data showing the presence of
   19   Naphthalene, Phenol and 2, 4 Dimethylphenol, as shown on Figure 2-18 (Hagström
   20   Reply Decl., ¶ 4, Ex. H, Figures to Mutch Rebuttal Report) is the basis upon which
   21   to determine the source of contamination, not speculation or surmise by Mr. Mutch
   22   that because groundwater flows in a certain direction it must be transporting
   23   contaminants from the PMC Property. The soil data demonstrates the PMC
   24   Property is not the source of Naphthalene, Phenol and 2, 4 Dimethylphenol as
   25   shown on Figure 2-18. Groundwater flow direction alone is not enough to prove a
   26   plausible pathway.
   27
   28   9
            The same is holds true for Benzene.
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    1            The “colored pie charts” drawn by Mr. Mutch on Figure 2-18 provide
    2   additional data demonstrating that not only is PMC not the source of these
    3   contaminants, but, that despite the drum recycling facility source being less than a
    4   few hundred feet from the OU-2 Plume boundary the contaminants have not
    5   crossed the OU-2 Plume boundary. The test data, dating back 26 years, collected
    6   from 9 of the 13 Monitoring Wells located on or within the OU-2 boundary are
    7   reported as “estimates and below the reporting limits”. In short, these are “J”
    8   values, which Mr. Mutch testified are unreliable. Hagström Reply Decl. ¶ 3, Exh.
    9   G, Mutch Depo VII, p. 816:12-20. The data reported for the four other “blank pie
   10   chart” Monitoring Wells located inside the OU-2 Plume are listed as “either not
   11   detected or not analyzed”. Mr. Mutch’s reliance upon wells with unreliable test
   12   data and wells with Non-Detect data to support his claim that a “plausible pathway”
   13   exists between the PMC Property and OU-2 for these contaminants is pure
   14   speculation and should be treated as such by the Court. There is no pathway,
   15   plausible or otherwise between the PMC Property and the OU-2 Plume.
   16   IV.      CONCLUSION
   17            Plaintiffs Opposition to PMC’s motion for summary judgement is based upon
   18   speculation piled upon speculation. Plaintiffs entire Opposition is premised upon
   19   “Groundwater Flow Lines”, which as Mr. Mutch agreed only show the direction
   20   groundwater may be flowing based upon a model all the while disregarding the
   21   groundwater quality data. Plaintiffs’ expert offers no evidence that groundwater is
   22   transporting or will transport contaminants that originated on the PMC Property
   23   5,000 to 10,000 feet to OU-2. Without contaminants, even if the groundwater
   24   flows in the direction Mr. Mutch claims - it’s just water. Even under the “plausible
   25   pathway” standard Plaintiffs would have this Court apply Plaintiffs have not met
   26   their burden to prove contaminants have been transported from the PMC Property
   27   to OU-2 or that some unknown, undefined speculative remediation system might at
   28   an unknown future time create a threat of contaminants being drawn into OU-2.

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    1            Recognizing they have fallen short of meeting their burden Plaintiffs
    2   attempted to create a disputed material issue of fact, as PMC predicted in its
    3   Moving Papers, by presenting an expert to offer opinions to create a dispute. As
    4   demonstrated above when the actual data is considered Mr. Mutch’s rebuttal report
    5   supports PMC’s Motion for Summary Judgment. Plaintiffs have failed on both
    6   fronts and PMC’s motion should be granted.
    7
    8    DATED: April 15, 2021                   BASSI EDLIN HUIE & BLUM LLP
    9
   10                                      By:         /s/ Earl L. Hagström
   11                                            Earl L. Hagström
                                                 Daniel E. Trowbridge
   12                                            Attorneys for Defendants PMC Specialties
   13                                            Group, Inc. and Ferro Corporation
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    1         CHRYSLER PROPERTY DEFENDANT’S REPLY IN SUPPORT OF
    2         DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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    1   I.       INTRODUCTION
    2            Over thirty years ago, Catellus Development Corporation (“Catellus”),
    3   predecessor to Defendant Palmtree Acquisition Corporation (“Palmtree”), first
    4   notified the Los Angeles Regional Water Quality Control Board (“Regional
    5   Board”) of detected contamination on the Chrysler Property. 1 Years of investigative
    6   and remedial work ensued, culminating in State regulatory closure for the Chrysler
    7   Property in 1999. In May 2009, in response to EPA’s General Notice Letter and
    8   Request for Information for the Omega Chemical Superfund Site, Palmtree
    9   acknowledged that the source of contamination on the Chrysler Property was the
   10   “Chrysler Clarifier” which Chrysler, “a former Catellus tenant,” operated on the
   11   Chrysler Property. Declaration of Sedina L. Banks in Support of Motion for Partial
   12   Summary Judgment (“Banks Decl.”) (Dkt. 902-7), Exh. 33, p. 213. In August
   13   2014, more than four decades after Union Pacific sold the Chrysler Property in
   14   January 1974, Plaintiffs filed this action.
   15            In the course of these events, over several decades, neither the United States
   16   Environmental Protection Agency (“EPA”) nor any State regulatory agency with
   17   oversight of environmental conditions at facilities within or around the Omega
   18   Chemical Corporation Superfund Site – including Operable Unit 2 (“OU-2”) – have
   19   ever designated Union Pacific as a potentially responsible party (“PRP”) for the
   20   Chrysler Property. This derives from the lack of any evidence that Union Pacific is
   21   responsible under CERCLA for the disposal of any hazardous substance at the
   22   Chrysler Property during its ownership.
   23            Similarly, Plaintiffs cannot meet their burden of proving that any disposal or
   24   release of hazardous substances occurred at the Chrysler Property during Union
   25   Pacific’s period of ownership or operations, and which subsequently impacted OU-
   26   2 groundwater. See 42 U.S.C. § 9607(a); Plaintiffs’ Common Brief, Dkt. 903-1, at
   27
   28
        1
         All defined terms are as defined in Union Pacific’s Motion for Partial Summary
        Judgment (Dkt. 902), unless otherwise stated.
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    1   3:19-24. In particular, Plaintiffs have no proof of any disposal or release of the
    2   chlorinated solvents at issue in this action – i.e., PCE, TCE and 1,2-DCE – which
    3   based on the evidentiary record all occurred after Union Pacific’s ownership of the
    4   Chrysler Property ended in January 1974.2 Further underscoring this point,
    5   Plaintiffs have no evidence that any products or wastes containing these chlorinated
    6   constituents were ever used or handled during the period of Union Pacific’s
    7   ownership, let alone disposed of and/or released to the environment in a manner
    8   that impacted OU-2 groundwater.
    9            Plaintiffs instead rely on pure conjecture, absent evidentiary support,
   10   regarding alleged disposals and/or releases of any hazardous substances to the
   11   environment during Union Pacific’s ownership of the Chrysler Property. For
   12   example, while citing to several notices of violation issued to Union Pacific’s
   13   former tenants for improper waste discharges, Plaintiffs’ designated expert, Robert
   14   D. Mutch, Jr., P.HG., P.E., admits that he did not even “tr[y] to tie the general
   15   impact upon OU-2 groundwater from this site to each specific violation issued for
   16   this site.” Declaration of Sedina L. Banks in Support of Reply (“Banks Decl.”),
   17   Exh. 5 [Mutch Depo. Tr. 425:5-7]. As noted, there is nothing to indicate that any
   18   chlorinated solvents, including PCE, TCE or 1,1-DCE, were used at the Chrysler
   19   2
          As noted in Union Pacific’s Opposition to Plaintiffs’ Motion (Dkt. 933), Plaintiffs
   20   incorrectly contend Union Pacific is liable under CERCLA in spite of the following
        key, undisputed facts: (i) Union Pacific has never been designated as a PRP for the
   21   Chrysler Property by EPA or any State agency; (ii) Palmtree, the successor owner
        of the Chrysler Property, has stipulated that: “Sometime between 1974 and 2002, in
   22   connection with operations conducted at the Chrysler Source Property, there was a
        “disposal,” as that term is defined under CERCLA Section 101(29), 42 U.S.C. §
   23   9601(29), of one or more Hazardous Substances, or waste containing Hazardous
        Substances, at the Chrysler Source Property …. [and] Sometime between 1974 and
   24   2002, in connection with operations conducted at the Chrysler Source Property,
        Hazardous Substances, or waste containing Hazardous Substances, were spilled,
   25   leaked, emptied, escaped, leached, poured, or were emitted, injected, discharged,
        dumped or disposed, into the soil at the Chrysler Source Property and into OU2
   26   [groundwater] from the Chrysler Source Property” (Dkt. 687, ¶¶ 8-9)(emphasis
        added); and (iii) the presumptive source of chlorinated solvent releases at the
   27   Chrysler Property – including “[s]olvents like PCE, TCE, and cis-1,2-DCE” (Dkt.
        903-2, at 80:20-24) – that impacted OU-2 groundwater is a 750-gallon clarifier (the
   28   “Chrysler Clarifier”) first installed and utilized almost ten years after Union Pacific
        sold the Chrysler Property.
                                                                             MOVING DEFENDANTS’
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    1   Property during Union Pacific’s ownership, let alone disposed of or released to the
    2   environment.
    3            Plaintiffs misleadingly assert “[w]aste water containing hexavalent
    4   chromium was discharged to the ground in 1970.” Opp. 18:18-19 (emphasis
    5   added). This alleged wastewater discharge in 1970 by a tenant of Union Pacific, as
    6   Plaintiffs concede in their affirmative motion, was to the “car wash storm drain”
    7   and there is no evidence of any release or impacts to soil at the Chrysler Property.
    8   Plaintiffs’ MSJ. (Dkt. 903-2), 80:2-6; 89:11-13. In fact, Mr. Mutch admits there is
    9   no evidence that hexavalent chromium contamination is present, or ever was, in
   10   either soil at or groundwater beneath the Chrysler Property. This fact is dispositive
   11   on this issue.
   12            For the reasons set forth herein, Moving Defendants’ Joint Motions, and
   13   Union Pacific’s moving papers, Union Pacific respectfully requests that the Court
   14   grant its Motion for Partial Summary Judgment as to the Chrysler Property.
   15   II.      ARGUMENT
   16            A.        Union Pacific is Not Within the Classes of Persons Liable Under
   17                      CERCLA
   18            “Under 42 U.S.C. § 9607(a)(2), liability under CERCLA can be attached to
   19   ‘any person who at the time of disposal of any hazardous substance owned or
   20   operated any facility at which such hazardous substances were disposed of.’”
   21   Ferguson v. Arcata Redwood Co., LLC, 2005 WL 1869445, at *3 (N.D. Cal.
   22   2005)(quoting 42 U.S.C. § 9607(a)(2).) CERCLA section 9601(29), 42 U.S.C. §
   23   9601(29), adopts the definition of “disposal” from the Solid Waste Disposal Act
   24   (“RCRA”), 42 U.S.C. § 6903(3), which states, in pertinent part:
   25                      “The term ‘disposal’ means the discharge, deposit, injection,
   26                      dumping, spilling, leaking, or placing of any solid waste or
   27                      hazardous waste into or on any land or water so that such solid
   28                      waste or hazardous waste or any constituent thereof may enter
                                                                               MOVING DEFENDANTS’
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    1                      the environment or be emitted into the air or discharged into any
    2                      waters, including ground waters.”
    3   Carson Harbor Village, Ltd. v. Unocal Corp., 270 F.3d 863, 875 (9th
    4   Cir.2001)(quoting RCRA, 42 U.S.C. § 6903(3)). Accordingly, to make out a prima
    5   facia case, Plaintiffs must “establish that a spill, discharge, leak, etc., occurred at
    6   the time [Union Pacific] controlled the site.” Id.; ABB Indus. Sys., Inc. v. Prime
    7   Tech., Inc., 120 F.3d 351, 356 (2d Cir. 1997) (upholding grant of summary
    8   judgment in defendants’ favor because plaintiff did not establish that a disposal
    9   occurred during defendants’ ownership of the property).
   10            Notwithstanding Plaintiffs’ assertions to the contrary, Union Pacific cannot
   11   be held liable as a former “owner or operator” under CERCLA. Plaintiffs have no
   12   evidence that the chlorinated solvents of concern – PCE, TCE or 1,1-DCE – were
   13   ever used, discharged, or released to the environment at or from the Chrysler
   14   Property during Union Pacific’s ownership. Plaintiffs likewise have no evidence
   15   that hexavalent chromium contamination was ever discharged to the ground, let
   16   alone released to the environment; indeed, Plaintiffs have no on- or off-site data to
   17   support such an allegation. As such, there is no evidence that any hazardous
   18   substances at issue in this action were disposed of or released on the Chrysler
   19   Property during Union Pacific’s period of ownership, let alone that such hazardous
   20   substances were ever released to OU-2 groundwater.
   21            The Ferguson decision, 2005 WL 1869445 (N.D.Cal 2005), is on point and
   22   particularly instructive. Therein, the court granted defendant’s motion for summary
   23   judgment because the plaintiff “failed to present any evidence that hazardous
   24   substances were disposed of on the Property at issue during [defendant’s]
   25   ownership.” Id. While the plaintiff “present[ed] evidence regarding hazardous
   26   waste releases in other areas of the surrounding property owned by the company,”
   27   there was “no evidence explaining how the release of hazardous waste in other
   28   areas owned by the company impacted the Property at issue in this case.” Id. at *3-
                                                                               MOVING DEFENDANTS’
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    1   4. On that basis, the court concluded defendant was “entitled to summary judgment
    2   on plaintiff’s claim that he was a former ‘owner or operator’ under 42 U.S.C. §
    3   9607(a)(2).” Notably, in rendering this conclusion, the court observed:
    4                      “Although plaintiff presents a large amount of argument on this
    5                      issue, argument is not sufficient at the summary judgment stage
    6                      of the proceedings, as plaintiff must produce evidence in support
    7                      [of its claims]…. The Court rejects plaintiff’s argument because
    8                      it entirely lacks factual support [citation to plaintiff’s brief]
    9                      (containing assertions such as: “the site was very contaminated”;
   10                      “there were numerous ... containers that used to contain
   11                      hazardous wood treatment chemicals ... left around the site”; and
   12                      “[t]here is no question that ... wood treatment chemicals used
   13                      and released during his ownership and operation … found their
   14                      way into this disposal pit.”) Plaintiff has presented no evidence
   15                      that any of the material found in the disposal pit originated with
   16                      [defendant].”
   17   Id. at *3-4.
   18            For the reasons explained below, under the procedural circumstances of this
   19   case and their own admissions, Plaintiffs must prove more than the mere possibility
   20   that disposals of hazardous substances occurred during Union Pacific’s ownership.
   21   Rather, Plaintiffs have conceded they must prove that any such discharges resulted
   22   in the release of hazardous substances to OU-2 groundwater. Since Plaintiffs have
   23   no evidentiary basis to support any such allegation, Union Pacific is entitled to
   24   summary judgment based on the same reasoning applied by the Ferguson decision.
   25   ///
   26   ///
   27   ///
   28   ///
                                                                                   MOVING DEFENDANTS’
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    1            B.        Because Plaintiffs are Seeking Response Costs for Impacts to OU-2
    2                      Groundwater, they Must Prove that Disposals and Releases of
    3                      Hazardous Substances Impacted OU-2 Groundwater
    4            As further detailed in Defendants’ Joint Reply addressing common issues,
    5   Plaintiffs have repeatedly acknowledged – and represented to this Court – that this
    6   phase of the bifurcated action includes the “critical question of whether Defendants’
    7   releases have impacted OU2” and that “[t]he entire purpose for the phasing of this
    8   case is to ensure that only those Parties that are responsible for the OU2 regional
    9   groundwater contamination advance to a later phase.” (Dkt. 602, p. 3)(emphasis
   10   added).
   11            Remarkably, Plaintiffs suggest they need only imply that a “single drop” of a
   12   hazardous substance “was placed anywhere on the [Chrysler Property]” to establish
   13   Union Pacific’s liability as a former owner. (Dkt. 950-1, at 15:19-21.) To the
   14   contrary, Plaintiffs must prove that any waste disposals that occurred during Union
   15   Pacific’s ownership of the Chrysler Property resulted in a release of hazardous
   16   substances to OU-2 groundwater, because Plaintiffs seek recovery of costs “to
   17   address the contamination contributed to the OU-2 Facility by Defendants.” (FAC,
   18   ¶ 404)(emphasis added). 3 See ABB Indus. Sys., Inc, 120 F.3d at 356; Ferguson,
   19   supra.
   20            As alleged by Plaintiffs, the “facility” at issue is the “OU-2 Facility.” (FAC,
   21   ¶¶ 2, 106-17, 119, 404). Thus, even assuming Plaintiffs could establish that a
   22   discharge of hazardous substances to soil occurred during Union Pacific’s
   23   ownership – for which Plaintiffs have provided no evidence whatsoever – such a
   24   finding would be of no consequence. Rather, Plaintiffs must also provide evidence
   25
   26
        3
         Plaintiffs are not seeking, nor are they entitled to seek, costs to remediate any
        contamination of soils at the Chrysler Property that resulted from operations
   27   subsequent to Union Pacific’s ownership. In fact, the Regional Board has already
        determined that no further clean-up needs to be undertaken at the Chrysler Property.
   28   Banks Decl., Exhs. 27, 28, 30, and 32 [Closure Letters].

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    1   that any hazardous substances allegedly disposed of during Union Pacific’s
    2   ownership of the Chrysler Property were actually released into OU-2 Groundwater.
    3   They have failed to do so.
    4            C.        The Alleged Violations Cited by Plaintiffs Are Not Evidence of
    5                      CERCLA “Disposals” Sufficient to Establish Union Pacific’s
    6                      Liability
    7                      1.    “Disposal” is a CERCLA defined term requiring discharges
    8                            of “hazardous substances” to the “environment”
    9            Plaintiffs make the general assertion that wastewater “sent to the sewer
   10   system on the property constituted multiple pre-1974 disposals.” Opp. 17:6-7.
   11   Merely alleging that wastewater was sent to the sewer system or storm drain does
   12   not satisfy Plaintiffs’ burden of proof that “disposals” occurred during Union
   13   Pacific’s ownership of the Chrysler Property. See Ferguson, 2005 WL 1869445, at
   14   *3. The entirety of Plaintiffs’ evidence that disposals occurred is several alleged
   15   violations unrelated to soil or OU-2 groundwater impacts. This is insufficient to
   16   find that a “disposal” occurred. 4
   17            Plaintiffs cite Voggenthaler v. Md. Square LLC, 724 F.3d 1050 (9th Cir.
   18   2013) for the contention they need not prove that any contaminants discharged
   19   during Union Pacific’s ownership actually entered the environment to qualify as a
   20   disposal. Opp. 9:16-18. However, the factual circumstances addressed in
   21   Voggenthaler are readily distinguishable. Therein, a former dry cleaner operator
   22   was liable under CERCLA because hazardous substances from their operations
   23   were first released to the floor drain before eventually, and actually, impacting soil
   24   and groundwater. Voggenthaler, 724 F.3d at 1064. The defendant admitted “that it
   25   used PCE in its operations and that it regularly spilled PCE on the concrete floor.”
   26   4
          “Disposal” is a legal CERCLA term of art requiring the hazardous substance be
   27   placed “into or on any land or water so that such ... hazardous waste ... may enter
        the environment.” 42 U.S.C. § 6903(3); 42 U.S.C. § 9601(29). CERCLA defines
   28   “environment” to include “surface water, ground water, drinking water supply, land
        surface or subsurface strata, or ambient air.” 42 U.S.C. § 9601(8).
                                                                            MOVING DEFENDANTS’
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    1   Id. at 1063. There was no dispute that the contaminants “went down the drain
    2   through the pipes beneath the floor and into the ground and groundwater,” and site
    3   investigations proved the presence of PCE in the soil and groundwater. Id. at 1057
    4            By contrast, here there is no evidence of chlorinated solvent usage, or
    5   discharges or releases to soil or groundwater, during Union Pacific’s ownership of
    6   the Chrysler Property. Likewise, there is no evidence that hexavalent chromium
    7   was ever discharged to the ground, or was ever present in either soil at or
    8   groundwater beneath the Chrysler Property. Plaintiffs’ MSJ (Dkt. 903-2) at 81:3-4;
    9   Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 465:17-22]; see also Banks Reply
   10   Decl., Exh. 5 [Mutch Depo. Tr. 457:11-18; see also Mutch Depo. Tr. 433:20-
   11   23](Chrysler Clarifier is the source of contamination).
   12                      2.   None of the alleged violations concern releases or disposals
   13                           to surface land or OU-2 groundwater
   14            Plaintiffs’ reliance on alleged notices of violations at the Chrysler Property
   15   during Union Pacific’s ownership period does not provide a sufficient basis to
   16   impose liability upon Union Pacific. First and foremost, all of the notices concern
   17   alleged discharges to the sewer system or storm drain. Mr. Mutch acknowledged he
   18   could not connect any of the violations to impacts to soil or groundwater, nor did he
   19   even try. Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 424:13-20; 425:5-8; 425:19-
   20   21; 426:12-16; 429:13-17; 432:4-6; 443:7-17; 450:17-23]. Second, Mr. Mutch
   21   admitted his “task” was not to identify whether specific releases or violations ever
   22   impacted OU-2 groundwater, responding: “My task was to evaluate whether the
   23   property has contributed to soil and groundwater contamination in OU-2, not
   24   whether specific violations led, or to what extent specific violations led to that
   25   observed and corroborated OU-2 groundwater contamination.” Banks Reply Decl.,
   26   Exh. 5 [Mutch Depo. Tr. 450:19-23].
   27            Since the Chrysler Property has been owned by a succession of parties
   28   (Union Pacific, Palmtree, and Burke Street), it does not suffice for Plaintiffs to
                                                                             MOVING DEFENDANTS’
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    1   generally allege that releases of hazardous substances from the Chrysler Property
    2   may have impacted OU-2 groundwater to establish liability against Union Pacific.
    3   Rather, Plaintiffs must present evidence that a disposal of relevant hazardous
    4   substances – that in turn were released to the environment and impacted OU-2
    5   groundwater – occurred during Union Pacific’s ownership. See Carson Harbor
    6   Village Ltd., 270 F.3d at 875; ABB Indus. Sys., Inc., 120 F.3d at 356; Plaintiffs’
    7   MSJ Common Brief ((Dkt. 903-1) at 3:19-24). Plaintiffs fail to make this showing.
    8            Finally, Plaintiffs seek to rely on Mr. Mutch’s opinion to create an inference
    9   that since on-site wastewater was discharged to the sewer system, sewers may leak,
   10   that Union Pacific can be presumed liable. This argument also fails. Plaintiffs
   11   never investigated, let alone show proof, whether the sewers actually leaked. Banks
   12   Reply Decl., Exh. 5 [Mutch Depo. Tr. 415:9-12; 464:17-20; 465:3-5; 465:7-11];
   13   Mutch January 2021 Report (Dkt. 903-204)(“January Report”) 5-11 (“sewer lines
   14   had not been investigated in 1992 and I would add that they have not been
   15   adequately investigated since that time”). More problematically, Mr. Mutch
   16   testified he does not have the results of exfiltration or infiltration rate testing for the
   17   sewers at the Chrysler Property, even though alleged exfiltration of the sewers is a
   18   cornerstone of his opinion. Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 415:9-12];
   19   see Mutch Report (Dkt. 903-204). Mr. Mutch admitted that he did not commission
   20   a smoke testing survey, CCTV camera survey, or a pressure testing survey of the
   21   sewers. Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 415:2-12; 464:17-20; 465:3-
   22   5; 465:7-11]. Instead, he opines that the 1987 Whittier Narrows earthquake, which
   23   occurred more than thirteen years after Union Pacific sold the Chrysler Property,
   24   caused leaking of the sewers and allowed hazardous substances to reach soil and
   25   eventually groundwater. January Report, p. 5-11. This is entirely irrelevant to
   26   establishing liability against Union Pacific.5
   27   5
         An expert “opinion that is demonstrably unreliable cannot form the basis for
   28   showing a genuine issue of fact.” Triton Energy Corp. v. Square D Co., 68 F.3d
        1216, 1222 (9th Cir. 1995)(excluding expert’s opinion regarding an alleged defect
                                                                              MOVING DEFENDANTS’
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    1                      3.   There is no soil or groundwater data to corroborate that
    2                           disposals or releases of hexavalent chromium ever occurred
    3                           on the Chrysler Property, let alone during Union Pacific’s
    4                           ownership
    5            Plaintiffs set forth entirely unsubstantiated allegations that there were
    6   “multiple disposals of hexavalent chromium” during Union Pacific’s ownership of
    7   the Chrysler Property, including a discharge “to the ground in 1970.” See e.g., Opp.
    8   18:18-20, citing Plaintiffs’ Request for Judicial Notice in Support of Opposition
    9   (“Opp.RFJN”), Exh. 14. To be clear, there was only one notice of violation issued
   10   during Union Pacific’s ownership of the Chrysler Property, dated March 2, 1970,
   11   related to the alleged discharge of wastewater containing detectable hexavalent
   12   chromium. Opp.RFJN, Exh. 14. The violation stated that this discharge went to the
   13   “storm drain,” not the ground. 6 Id. There is simply no evidence of any disposal of
   14   hexavalent chromium to the ground that impaired on-site soils, and certainly not
   15   “multiple disposals.” Plaintiffs’ suggestion otherwise is unsubstantiated speculation
   16   insufficient to defeat Union Pacific’s Motion. See Thornhill Pub. Co., Inc. v. GTE
   17   Corp., 594 F.2d 730, 738 (9th Cir. 1979)(conclusory, speculative testimony in
   18   affidavits and moving papers is insufficient to raise genuine issues of fact and
   19   defeat summary judgment).
   20            Plaintiffs also misleadingly assert that “[m]ore than one consultant” reported
   21   hexavalent chromium discharges in 1970. Opp. 19-20:5. These consultant reports
   22   of a circuit breaker that he never actually examined).
   23
        6
          Plaintiffs may be confusing the March 2, 1970 violation with a violation issued to
        another party. In Plaintiffs’ Response to Union Pacific’s Statement of Undisputed
   24   Facts (“PRSUF”), Plaintiffs cite multiple times as evidence against Union Pacific a
        March 20, 1970 Notice of Violation issued to Globe Oil Tool Company for 11630
   25   Burke Street, Santa Fe, Springs, CA. See PRSUF Nos. 107 and 111, citing Opp.
        RFJN Exh. 23. This violation is wholly irrelevant because it was issued to a party
   26   unaffiliated with Union Pacific and for a different site than the Chrysler Property.
        The violation, however, references “liquid waste discharge to ground…that greatly
   27   exceeds the allowable limitation.” It is unclear whether Plaintiffs’ assertion that
        hexavalent chromium on the Chrysler Property was “discharged to ground” is based
   28   on Plaintiffs confusing the two violations and sites as the March 2, 1970 violation
        makes no reference to any “discharge to ground.”
                                                                              MOVING DEFENDANTS’
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    1   were prepared two decades after the alleged violation occurred. Statements made in
    2   the reports regarding purported violations contain multiple levels of inadmissible
    3   hearsay, which cannot be used to prove that the violation actually occurred. FED. R.
    4   EVID. 801(c); Orr v. Bank of Am., 285 F.3d 764, 773, 778 (9th Cir.2002) (hearsay
    5   evidence is inadmissible and may not be considered on summary judgment); see
    6   also Estate of Goldberg v. Goss-Jewett Co., Inc., 2020 WL 4390385, at *7 (C.D.
    7   Cal. July 14, 2020) (noting it would be hearsay to rely on Regional Water Board
    8   cleanup and abatement order finding that above ground tanks were leaking to
    9   “prove that the tanks did, in fact, leak and cause the contamination.”). Moreover,
   10   these reports are referring to the same alleged violation on March 2, 1970.
   11            Importantly, Plaintiffs and Mr. Mutch have admitted that there is no evidence
   12   that hexavalent chromium has ever been detected in either soil at or groundwater
   13   beneath the Chrysler Property. Plaintiffs’ MSJ. (Dkt. 903-2) at 81:3-4 (there has
   14   been “no testing for hexavalent chromium [] undertaken at the property”); see also
   15   Banks Reply Decl., Exh. 5 (testifying that there is no soil investigation for
   16   hexavalent chromium) [Mutch Depo. Tr. 465:17-22]. In other words, Plaintiffs
   17   seek to hold Union Pacific responsible for alleged hexavalent chromium
   18   contamination, when there is zero data to substantiate any such claim.
   19            D.        Plaintiffs Do Not Raise a Question of Material Fact Regarding
   20                      Union Pacific’s Alleged Liability for Releases or Disposals from
   21                      the Chrysler Clarifier
   22                      1.    Plaintiffs have no evidence that Union Pacific owned the
   23                            Chrysler Property at the time of a release from the Chrysler
   24                            Clarifier or any other clarifier
   25            “Summary judgment for a defendant is appropriate when the plaintiff ‘fails to
   26   make a showing sufficient to establish the existence of an element essential to [its]
   27   case, and on which [it] will bear the burden of proof at trial.’” Cleveland v. Policy
   28   Mgmt. Sys. Corp., 526 U.S. 795, 805-06 (1999) (citing Celotex, 477 U.S. at 322).
                                                                            MOVING DEFENDANTS’
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    1   An essential element of Plaintiffs’ case is that there was a release of a hazardous
    2   substance from the Chrysler Property that impacted OU-2 groundwater, and for
    3   which Union Pacific is responsible.
    4            In this regard, Plaintiffs and Mr. Mutch have admitted that the alleged
    5   releases of hazardous substances that may have impacted OU-2 groundwater
    6   originate from the Chrysler Clarifier. See Plaintiffs’ MSJ (Dkt. 903-2) at 86:19-
    7   87:10 and at 87, n. 60; January Report, 5-30 (the “most unequivocal evidence of
    8   [contaminants] from operations at the Property reaching groundwater” is from the
    9   Chrysler Clarifier); Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 457:11-18; see
   10   also Mutch Depo. Tr. 433:20-23]. Plaintiffs do not cite to any groundwater impacts
   11   from other potential on-site sources – e.g., additional clarifiers – on the Chrysler
   12   Property. Prior environmental site investigations and Regional Water Board
   13   closure letters for the Chrysler Property did not identify any other on-site sources as
   14   contributing to potential groundwater impacts. Banks Decl., Exhs. 22, p. 176; 23,
   15   p. 184; 25, p. 191 [Property Assessments] and Exhs. 27, 28, 30, and 32 [Closure
   16   Letters]. Mr. Mutch also testified that the Chrysler Clarifier, CL-2, was the source
   17   of groundwater contamination:
   18                      Q: And which interceptor did create considerable soil
   19                      contamination and groundwater contamination, sir?
   20                      Which one do you have evidence of that you referenced
   21                      in your prior statement?
   22                      A: The clarifier that has the most evidence of both soil
   23                      and groundwater contamination is clarifier No. 2 [the
   24                      Chrysler Clarifier].
   25   Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 457:11-18; see also Mutch Depo. Tr.
   26   433:20-23].
   27            Importantly, Plaintiffs do not provide any evidence of a contaminant release
   28   from the Chrysler Clarifier during Union Pacific’s ownership of the Chrysler
                                                                                MOVING DEFENDANTS’
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    1   Property. Instead, Plaintiffs now assert that the Chrysler Clarifier may have been
    2   installed during Union Pacific’s ownership of the Chrysler Property. Even if
    3   Plaintiffs could make this showing – which they have not – it would be of no
    4   consequence. Plaintiffs’ burden is to demonstrate that a disposal or release of
    5   hazardous substances from the clarifier actually occurred on or before January 21,
    6   1974, when Union Pacific’s ownership of the property ceased. See Anderson, 477
    7   U.S. at 256 (opposing party must present “concrete evidence from which a
    8   reasonable jury could return a verdict in [their] favor.”).7
    9                      2.   The evidence indisputably refutes Plaintiffs’ assertion that
   10                           the Chrysler Clarifier was installed when Union Pacific
   11                           owned the Chrysler Property
   12            Plaintiffs now contend that the Chrysler Clarifier was not a 750-gallon
   13   clarifier located within an L-shaped addition to the Body Works Building, but
   14   rather a 1200-gallon clarifier (the “1200 Gallon Clarifier”) located some distance
   15   south and away from the Body Works Building. However, environmental
   16   investigative reports prepared contemporaneously during remediation work at the
   17   Chrysler Property approximately thirty years ago, the opinion of Plaintiffs’ expert
   18   Mr. Mutch, and Plaintiffs’ own discovery responses, all refute this contention.
   19                           a.    Environmental investigative reports and Plaintiffs’
   20                                 prior discovery responses state that the Chrysler
   21                                 Clarifier was a 750-gallon clarifier
   22            Plaintiffs’ assertion that the Chrysler Clarifier was a 1200-gallon clarifier
   23   depicted in some site drawings and not a 750-gallon clarifier is indisputably refuted
   24
   25
        7
          Furthermore, the timing of the installation of the Chrysler Clarifier can only
        negate an essential element of Plaintiffs’ claim (e.g., whether there was a disposal
   26   of hazardous substances from the Chrysler Clarifier during Union Pacific’s
        ownership of the Chrysler Property), it cannot prove it. United Steelworkers v.
   27   Phelps Dodge Corp., 865 F.2d 1539, 1542-43 (9th Cir. 1989)(“[O]n an issue where
        the plaintiff has the burden of proof, the defendant may move for summary
   28   judgment by pointing to the absence of facts to support plaintiff’s claim.”).

                                                                               MOVING DEFENDANTS’
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    1   by historic environmental reports and Plaintiffs’ own discovery responses.
    2            For example, a 1988 “Tank Removal Report” and the 1991 “Final Converse
    3   Report” both identify the removed clarifier as 750-gallons. Banks Decl., Exh. 17,
    4   pp. 142 and 144 [Tank Removal Report]; 21, p. 161 (“This report is a culmination
    5   of work conducted at the former Chrysler facility to investigate the source(s) and
    6   extent of soil and groundwater contamination identified beneath and in the vicinity
    7   of the 750 gallon clarifier, previously used by Chrysler at the Body Works
    8   Building.”)(emphasis added). Mr. Mutch’s March 4, 2021 Rebuttal Report
    9   (“Rebuttal Report”) also cites to the Tank Removal Report and admits that it
   10   identifies the Chrysler Clarifier as a 750-gallon clarifier. See e.g., Mutch Rebuttal
   11   Report 1-6. Plaintiffs have not identified a single reference in any environmental
   12   documents or reports indicating the Chrysler Clarifier was 1200 gallons and not 750
   13   gallons. None exists.
   14            Notably, in response to Union Pacific’s interrogatory requests regarding
   15   “disposals” or “releases” of “hazardous substances” on the Chrysler Property,
   16   Plaintiffs repeatedly asserted that the contamination was discovered beneath a 750-
   17   gallon clarifier near the Body Works Building:
   18                      “in the course of performing an environmental due diligence for
   19                      the property, elevated levels of halogenated hydrocarbons were
   20                      discovered in soil beneath and in the vicinity of a former 750-
   21                      gallon clarifier near the former Bodyworks Building, located on
   22                      the Central Property portion of the CHRYSLER PROPERTY.
   23                      ...
   24                      Groundwater sampling conducted on November 15, 1990,
   25                      November 28, 1990, December 3, 1990, and December 11, 1990
   26                      indicated the presence of [hazardous substances] in the
   27                      groundwater at the Central Property near the former 750-gallon
   28                      clarifier.”
                                                                               MOVING DEFENDANTS’
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    1   Banks Reply Decl., Exh. 1 [Plaintiffs’ Interrogatory Responses](emphasis added).
    2            Plaintiffs’ interrogatory responses make no reference to the existence of a
    3   1,200 gallon clarifier. Id. Union Pacific is entitled to rely on Plaintiffs’ discovery
    4   responses in support of its Motion. FED. R. CIV. P. 56(c)(1)(a)(citation to
    5   interrogatory answers appropriate to show absence of genuine dispute). Plaintiffs
    6   have no basis to suddenly contend the Chrysler Clarifier was actually a 1,200 gallon
    7   clarifier.
    8                           b.   Environmental investigative reports and Mr. Mutch’s
    9                                reports identify the Chrysler Clarifier in the L-Shaped
   10                                addition to the Body Works Building
   11            Plaintiffs’ assertion that the Chrysler Clarifier was not located within the
   12   overhang L-shaped addition of the Body Works Building, but instead some distance
   13   south of the building, is likewise refuted by every relevant site figure depicting the
   14   removed Chrysler Clarifier, as well as the opinion of their expert, Mr. Mutch.
   15            The 1988 Tank Removal Report, the 1989 McLaren Environmental
   16   Engineering Environmental Assessment, the 1990 Preliminary Converse Report,
   17   the 1991 Final Converse Report, and the 1992 Dames & Moore Remedial
   18   Investigation Workplan all depict the Chrysler Clarifier in proximity to where the
   19   L-shaped addition was located. Banks Decl., Exhs. 17, p. 144-45 [Tank Removal
   20   Report]; 18, p. 152 and 21, p. 174 [Converse Reports]; Ruiz Decl., ¶¶ 5 & 6; Ford
   21   Decl., Exh. 2, p. 14 [McLaren Report]; January Report, Figure 5-10. Plaintiffs seek
   22   to create a question of fact by contending the Chrysler Clarifier must have been
   23   outside the Body Works Building, based on a statement made in the McLaren
   24   report that the Body Works Building was intact.8 This is immaterial because the
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   26
        8
          The McLaren report states that the Chrysler “facility consists of 17 buildings, the
        majority of which are open sided, metal framed sheds and open asphalt areas.”
   27   Ford Decl., Exh. 2, p. 13. This explains why some reports draw the Chrysler
        Clarifier as outside of the rectangular building, but within the area where we know
   28   the L-shaped addition was located. It is also possible that the L-shaped addition to
        the Body Works Building was removed prior to removing the Chrysler Clarifier.
                                                                             MOVING DEFENDANTS’
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    1   McLaren Report, like the Tank Removal Report, also depicts the Chrysler Clarifier
    2   in the same location as where the L-shaped addition to the Body Works building
    3   was located. 9
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                 Based on Mr. Ruiz’ analysis of aerial photographs, which Mr. Mutch admits
   14
        “is adequate to assess the timing of the building expansion,” Union Pacific has
   15
        established that the L-shaped expansion did not occur until sometime between 1983
   16
        and 1987. Mutch Rebuttal Report, 1-8. Regardless of when the L-shaped
   17
        expansion was removed, there is no dispute that it was built after Union Pacific sold
   18
        the Chrysler Property on January 21, 1974. Id. It is also undisputed that the
   19
        Chrysler Clarifier was located within this addition.
   20
                 On this point, in both his initial and rebuttal expert reports, Mr. Mutch agrees
   21
        that the Chrysler Clarifier was located within the L-shaped addition of the Body
   22
        Works Building. In Figure 5-10 to his January Report, Mr. Mutch identifies the
   23
        location of the Chrysler Clarifier consistent with Mr. Ruiz’ identification:
   24
   25
   26
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         The Tank Removal Report figure 2B may be referenced at Banks Decl. Exh. 17, p.
        145; the McClaren Report Site Plan may be referenced at Ford Decl., Exh. 2, p. 14.
                                                                             MOVING DEFENDANTS’
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    9
        Likewise, in his Rebuttal Report, Mr. Mutch admits that “[t]he annotated site
   10
        photograph referenced by Mr. Ruiz does indeed support that the Chrysler Clarifier
   11
        was excavated from a location within the expanded footprint of the Body Work
   12
        Building.” Rebuttal Report, p. 1-7 (emphasis added).
   13
                 The foregoing admission by Mr. Mutch unequivocally refutes Plaintiffs’
   14
        assertion that the “evidence does not support Mr. Ruiz’s opinion that Clarifier 2
   15
        was inside the Body Works Building.” Opp. 26:18-20.
   16
                                c.   The October 16, 1973 officially-approved site plans do
   17
                                     not depict the 1200 Gallon Clarifier
   18
                 In connection with Chrysler obtaining new wastewater discharge permits,
   19
        two site plans for the Chrysler Property were approved by the Los Angeles County
   20
        Sanitation District (“LACSD”) in 1973 and 1974. Plaintiffs claim that the “1973
   21
        and 1974 site plans and maps … show the presence of a clarifier, before Union
   22
        Pacific sold the property.” See Opp. 29:13-15; Opp. 27:9-11. However, to the
   23
        extent Plaintiffs seek to create an inference that an additional clarifier could have
   24
        been a potential source of contaminant releases during Union Pacific’s ownership,
   25
        the 1973 site plan does not depict the 1200 Gallon Clarifier.
   26
                 On October 16, 1973, the LACSD approved site plans in connection with
   27
        Chrysler’s Industrial Wastewater Discharge Permit No. 787. Banks Decl., Exhs. 8
   28
                                                                           MOVING DEFENDANTS’
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    1   [Site Plan Map] and 7 [Approval Letter]. On January 31, 1974 (10 days after
    2   Union Pacific sold the Chrysler Property), LACSD approved site plans in
    3   connection with Chrysler’s Industrial Wastewater Discharge Permit Nos. 926, 927
    4   and 928. Banks Decl., Exhs. 10 [Plan Approval], 11 [Site Plan Map] and 13, p. 126
    5   [Map]. Both sets of site plans depict the location of all current and proposed
    6   clarifiers and other structures on the Chrysler Property. Ruiz Decl., ¶¶ 7 & 8.
    7            Notably, the site plan approved in 1973 plainly does not depict the 1200
    8   Gallon Clarifier, while the plan approved in 1974 after Union Pacific sold the
    9   Chrysler Property, clearly does. 10
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   18   This derives from the fact that the 1200 Gallon Clarifier was approved in
   19   connection with Permit No. 926. Banks Decl., Exhs. 10 [Plan Approval] and 13, p.
   20   126 [Map]. The County of Los Angeles did not issue Permit No. 926 until April 2,
   21   1974 – several months after Union Pacific sold the Chrysler Property. Banks Decl.,
   22   Exh. 13 [Permit Approval]. 11
   23   10
          The 1973 Approved Site Plan may be referenced at Banks Decl., Exh. 8, p. 111.
   24
        11
          Mr. Mutch’s rebuttal report fails to acknowledge, or even address, that the 1973
        approved site plan does not depict the 1200 Gallon Clarifier. Instead, Mr. Mutch
   25   and Plaintiffs cite to a purported, and unauthenticated (see Union Pacific’s Request
        for Evidentiary Ruling), 1971 site survey as evidence that the 1200 Gallon Clarifier
   26   was present on the Chrysler Property at that time. Even were this true, it is
        immaterial to the present Motion because this clarifier – separate and apart from the
   27   Chrysler Clarifier – has never been identified, whether by the EPA, the Regional
        Board, or any consultants involved with investigating and/or remediating the
   28   Chrysler Property, as a potential source of contamination. Moreover, the site survey
        does not identify any relevant contaminants of concern – i.e., chlorinated solvents –
                                                                           MOVING DEFENDANTS’
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    1                      3.   Mr. Mutch’s Reports Do Not Rebut and Actually Lend
    2                           Support to Mr. Ruiz’s Expert Opinions
    3            In seeking to discredit Mr. Ruiz’s expert opinions, Plaintiffs make the
    4   obvious observations that Mr. Ruiz “cannot say whether the soil contamination
    5   originated form the 1,200-gallon clarifier or the 750-gallon clarifier” [Opp. 29, n.
    6   20] and that he “was not on expert on clarifiers, or industrial sewer systems.” Mr.
    7   Ruiz, of course, was not designated as an expert as to these issues – he
    8   acknowledges that he is an expert on “aerial imagery” and “maps” and not
    9   hydrology, contamination, or clarifier and sewer design. Ruiz Decl., ¶ 2.12
   10            Despite Plaintiffs’ attempt to undermine Mr. Ruiz’ testimony, Plaintiffs made
   11   no objections to Mr. Ruiz’ opinions, evidence, or methodology. See Dkt. 949-81
   12   [Plaintiffs’ Request for Ruling on Specified Evidentiary Objections]. More
   13   importantly, Mr. Mutch concedes in his Rebuttal Report that: (1) “Mr. Ruiz’s aerial
   14   photographic analysis is adequate to assess the timing of the building expansion”
   15   [p. 1-8]; (2) the “Chrysler Clarifier was excavated from a location within the
   16   expanded footprint of the Body Work Building;” and (3) the Tank Removal Report
   17   “illustrates the actual location of this clarifier and the area that PIC sampled.” [p. 1-
   18   6]. 13 Therefore, Mr. Ruiz has provided credible expert opinion in support of Union
   19   Pacific’s Motion.
   20
   21   as being used on the Chrysler Property at that time. See Plaintiffs’ Request for
        Judicial Notice, Exh. 77 (Dkt. 903-81). Instead, the site survey only references
   22   “detergent, oil, grease, sand, silt, and paint dust.” Id. at p. 1157. The site survey
        also states that there is no waste disposal to “ground.” Id.
   23
        12
           By contrast, Plaintiffs cast Mr. Mutch as an expert on a broad array of topics,
        including sewer and clarifier design, infiltration and exfiltration, hydrology,
   24   contaminant plumes, aerial photographic interpretation, and site plan/map
        interpretation.
   25
        13
           Although immaterial to Union Pacific’s Motion, Plaintiffs also raise the issue that
        the clarifier may have been aboveground. The applicable Los Angeles County
   26   requirements for clarifier installation stated that a clarifier/interceptor can only be
        “level with the floor” if “installed inside of [a] building.” Banks Decl., Exh. 7,
   27   p.109. In other words, if the clarifier was located outside of a building, it would
        have to be partially aboveground. Chrysler also stated in submitted site plans in
   28   connection with the clarifier associated with Permit No. 787 that the clarifier would
        be aboveground and under a metal roof. Id. at p. 108.
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    1   III.     CONCLUSION
    2            For the foregoing reasons, Union Pacific respectfully requests that the Court
    3   grant Union Pacific’s Motion for Partial Summary Judgment.
    4
                                                 Respectfully submitted,
    5
    6    DATED: April 15, 2021                   GREENBERG GLUSKER FIELDS
                                                 CLAMAN & MACHTINGER LLP
    7
    8
                                           By:          /s/ Peter A. Nyquist
    9
                                                 Peter A. Nyquist
   10                                            Sedina L. Banks
                                                 Sherry E. Jackman
   11                                            Attorneys for Defendant Union Pacific
   12                                            Railroad Company

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    1                           PATSOURAS PROPERTY DEFENDANTS’
    2   REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT
    3   I.       INTRODUCTION
    4            Did hazardous substances which may have been released onto the soil
    5   decades ago at the Patsouras Property (which sits atop the path of the
    6   contaminated Omega OU-2 groundwater plume) travel from the soil surface to a
    7   depth of 35 to 74 feet to end up in the OU-2 groundwater?
    8            Plaintiffs and their expert toss hefty amounts of conjecture, suppositions, and
    9   speculation against the wall frantically trying to get to a plausible “yes” answer to
   10   that question. But because conclusory, speculative testimony is all they have to
   11   offer, none of it sticks. They don’t—and can’t—provide:
   12             (1) any site data showing that any hazardous substances in the soil migrated
   13   to the depth of the groundwater; and
   14            (2) any data showing that the groundwater leaving the Patsouras Property
   15   was more contaminated than the groundwater coming onto the Property.
   16            However, Moving Defendants and their expert provided:
   17            (1) the site data showing that the groundwater depth was and is well below
   18   the depth of soil contaminants; and
   19            (2) the data showing that the groundwater coming onto the Patsouras
   20   Property consistently had higher concentration of contaminants than the
   21   groundwater leaving the Property.
   22            Based on that data, the Los Angeles Regional Water Quality Control Board
   23   formally concluded that the Property was not contributing to the groundwater
   24   contamination, issuing a “No Further Action Letter,” acknowledging that the levels
   25   of contamination in the groundwater leaving the property were the same as the
   26   levels in the Omega plume coming onto the Property, and ordering the removal of
   27   existing groundwater monitoring wells because they were unnecessary.
   28
                                                                            MOVING DEFENDANTS’
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    1            Similarly, the U.S. Environmental Protection Agency has assessed properties
    2   in the path of the Omega Plume for more than 15 years pursuant to its policy of
    3   issuing notice letters “to all parties where there is sufficient evidence to make a
    4   preliminary determination of potential liability under §107 of CERCLA.” 1 EPA
    5   determined that there was sufficient evidence to make a preliminary determination
    6   of potential liability for 42 parties (other than Plaintiffs), and issued 42 notice
    7   letters to owners and operators of properties overlying the Omega Plume. 2
    8   However, after more than a decade and a half of review, EPA has not found
    9   sufficient evidence to preliminarily determine that the Patsouras Property
   10   Defendants are liable for any groundwater contamination and has not issued notice
   11   letters to them.
   12            The Patsouras Property Defendants can be liable to Plaintiffs under CERCLA
   13   only if hazardous substances in the Property soil traveled 35 to 74 feet 3 below
   14   ground surface, entered into the groundwater, and commingled with the Omega
   15   Plume, causing Plaintiffs to incur response costs. Plaintiffs have not provided more
   16   than a scintilla of evidence that that has happened or that there is a “plausible
   17   pathway” for that to have happened. The Motion for Summary Judgment should be
   18   granted.
   19   II.      SOIL CONTAMINANTS ON THE PROPERTY
   20            A.        SOME CONTAMINANTS WERE FOUND IN SOIL
   21            Plaintiffs devote ten pages to their rendition of historic operations and
   22   their ruminations about operations that might have caused soil contamination.
   23   (Opp. at 32-42). But their speculation is moot, because the Patsouras Property soil
   24   was thoroughly investigated under the auspices of and with the approval of the Los
   25
   26   1
          53 Fed. Reg. 5298, 5301 (Feb. 23, 1988)(emphasis added).
        2
          https://cumulis.epa.gov/supercpad/SiteProfiles/index.cfm?fuseaction=second.ars&i
   27   d=0903349&doc=Y&colid=64480&region=09&type=AR
        3
          The minimum depth from soil surface to the groundwater under the Property
   28   has been more than 35 feet and has been as deep as 74.7 feet below ground surface.
                                                                             MOVING DEFENDANTS’
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    1   Angeles Regional Water Quality Control Board. That investigation documented
    2   the actual contaminants and their concentrations on the Property. Only minor
    3   amounts of PCE and TCE were found, and the extremely low concentrations,
    4   frequency, and locations of PCE and TCE are consistent with their degassing off of
    5   the Omega Plume. 4
    6            The site investigation showed that the primary compounds found on the
    7   Property were heavy petroleum hydrocarbons and arsenic. The heavy petroleum
    8   hydrocarbons did not make their way to OU-2 groundwater, wouldn’t be
    9   soluble in the groundwater if they had, and aren’t hazardous substances under
   10   CERCLA in any event.5 The arsenic concentrations found in the soil were
   11   within background levels for regional soils 6 and the Regional Board ruled out
   12   arsenic as a contaminant of concern on that basis.
   13            Chromium concentrations also were within the background concentration
   14   levels normally found in uncontaminated soil, except for one sample. That one
   15   outlier sample was found at two feet and was only slightly above the background
   16   level. Moreover, because the heavy petroleum residues in Property soil have
   17   rendered the soil anoxic, the resulting reducing conditions convert any hexavalent
   18
   19
   20
        4
          Wick Decl., Exh. A (Dr. Kulla Expert Opinion at 4.)
   21   5
          42 U.S.C. § 9601(40)(“petroleum, including crude oil or any fraction thereof,” is
        excluded   from the definition of “hazardous substance”).
   22   6
          Plaintiffs manufacture a silly straw-person attack on Dr. Kulla in a footnote (Opp.
        at 39-40, fn. 26), arguing that Dr. Kulla contended that an arsenic level of 55 mg/kg
   23   was “characteristic of background for regional soils,” and then saying “she is
        wrong” because DTSC’s background level is 12 mg/kg. But Dr. Kulla actually
   24   wrote in her report that the “maximum concentration of arsenic was 55 mg/kg” at
        the Property, which is characteristic of background.” In other words, because the
   25   other samples were all either non-detect or lower-concentration samples, the overall
        levels are within background levels. And EAI confirmed her statement, using the
   26   EPA-approved software to determine that the 95% confidence level for arsenic
        detected in soil at the Property was 12.99 mg/kg, which “is very close to (within the
   27   range of) the 12 mg/kg background concentration determined acceptable by DTSC
        for LAUSD school sites, one of DTSC’s most sensitive (restrictive) land uses.”
   28   (Wick Decl., Exh. B, excerpt from EAI 2010 Report)
                                                                         MOVING DEFENDANTS’
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    1   chromium into trivalent chromium (a harmless substance consumed safely and
    2   often by humans). 7
    3            As for PCE and other chlorinated compounds, at least 123 soil samples
    4   were taken on the West Parcel between 1994 and 2010, and no PCE, TCE, 1,1-
    5   DCE, or chloroform were detected.8 On the East Parcel of the Property, at least
    6   137 soil samples were taken between 1994 and 2010, and PCE and TCE were
    7   found in only a few soil samples at very low concentrations 9 and no 1,1-DCE,
    8   or chloroform was detected.10
    9            B.        CONTAMINANTS IN SOIL GAS CAME FROM THE OMEGA
   10                      PLUME, NOT THE PROPERTY
   11            Plaintiffs argue in a footnote that soil gas sample results “localized in a
   12   portion of the Property with high PCE soil levels,” signify “a definitive onsite
   13   source.” (Opp. at 38, fn. 25.) Plaintiffs’ choice of a two-sentence footnote to
   14   showcase that argument suggests their low confidence it, and for good reason.
   15   As Dr. Kulla noted, “the spatial distribution of the PCE and TCE soil gas, with
   16   the higher concentrations found in the 15 ft bgs (below ground surface) samples
   17   and the lower concentrations in the shallower 5 ft bgs, indicate degassing off of
   18   a deeper source of contamination (i.e., the contaminated OU-2 groundwater),
   19   not shallow soil contamination as claimed by Mr. Mutch.” 11
   20            The Regional Board, DTSC, and California Office of Environmental Health
   21   Hazard Assessment (OHHEA) have required numerous properties (residential and
   22   commercial) in the path of the Omega Plume to perform shallow soil gas surveys
   23
        7
          Wick Decl., Exh. C (Dr. Kulla Rebuttal of Mutch Expert Report at 7).
   24   8
          Id., at 3.
        9
          Id. The maximum PCE concentration was 0.51 mg/kg and TCE was 0.27
   25   mg/kg.
        10
           Id.
   26   11
           Moreover, “the discrete soil testing on the West Parcel showed no signs of
        shallow soil contaminated with PCE and TCE. In fact, in numerous investigations
   27   on the West Parcel, no chlorinated or volatile organic chemicals were detected in
        any of the discrete soil samples (see Table 2, Kulla Expert Report).” Wick Decl.,
   28   Exh. C (Dr. Kulla Rebuttal Report, at 8).
                                                                              MOVING DEFENDANTS’
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    1   because the agencies know that the toxic vapors degassing off of the contaminated
    2   Omega Plume pose a potential health risk to humans. That’s why the soil gas
    3   survey on the West Parcel of the Patsouras Property was conducted, and why it was
    4   only performed on the shallow section of the soil column at 5 and 15 ft bgs—to
    5   measure the amount of the soil gas that might seep into a prospective new
    6   building.12
    7            When the Regional Board and EAI observed that the pattern in the soil gas
    8   concentrations might indicate a soil source localized deep in the central portion of
    9   the West Parcel (i.e., Plaintiffs’ allegation in footnote 25), the Regional Board
   10   directed EAI to perform additional investigation of the soil column in the central
   11   portion of the West Parcel with the highest soil gas concentrations. EAI drilled and
   12   sampled four 70-foot-deep borings (the groundwater in 2009 was below 70 feet
   13   bgs) in the area with the highest soil gas readings, collecting soil samples from each
   14   boring at depths of 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, 60, 65 and 70 feet bgs.
   15   Each soil sample was analyzed for volatile organic compounds, including PCE and
   16   TCE, by the standard methodology using EPA Method 8260B. No volatile organic
   17   compounds were detected in any of the discreet soil samples.13 These results
   18   confirmed that there was no discrete soil source of PCE or TCE (or any other
   19   volatile organic compound) in the soil on the West Parcel. Therefore, EAI
   20   concluded—and the Regional Board agreed—that the soil gas vapor measured on
   21   the Patsouras Property resulted from degassing off the contaminated Omega Plume.
   22   This evidence debunks Plaintiffs’ footnoted soil gas argument. And it’s conclusive
   23   evidence that Mr. Mutch’s speculation in his expert report 14 that the soil gas
   24   concentrations were caused by PCE and TCE in the Property soil was wrong.
   25
        12
          Id.
   26   13
          Id. at 8-10.
        14
          “These soil gas findings in conjunction with the earlier discussed soil and
   27   groundwater data, strongly support the conclusion that the Patsouras property has
        contributed PCE to soil, soil vapor, and groundwater.” (Mutch Expert Report, Doc.
   28   #903-204 at 168)(emphasis added).
                                                                           MOVING DEFENDANTS’
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    1            The soil contaminants, in any event, are not an issue in this motion (or in this
    2   case). Plaintiffs didn’t clean up any soil contaminants—the current property owner,
    3   Moving Defendant Kekropia, did. The only issue germane for this motion,
    4   addressed next, is groundwater. Have Plaintiffs provided admissible evidence
    5   showing that hazardous substances in Property soil migrated through the soil and
    6   contacted the groundwater table? The answer is no.
    7   III.     THE GROUNDWATER DATA SHOW NO CONTRIBUTION OF
    8            CONTAMINANTS FROM PATSOURAS PROPERTY SOIL
    9            Hydrogeologists employ two key lines of evidence to assess whether a
   10   property has contributed to groundwater contamination: (1) demonstration that
   11   chemical contaminants in the soil have migrated down through the soil and
   12   contacted the water table, and (2) a consistent pattern of higher contaminant
   13   concentrations in the downgradient (downstream) groundwater on the property than
   14   the contaminant concentrations coming from upgradient (upstream) groundwater
   15   onto the property.” 15
   16            At the Patsouras Property, (1) the data do not show that any soil
   17   contaminants contacted the water table and (2) the data show a consistent pattern of
   18   higher contaminant concentrations in the upgradient wells compared to the wells on
   19   the Property. Thus, both lines of evidence align, showing that the Property is not a
   20   source of groundwater contamination. The Regional Water Quality Control Board
   21   agreed with that analysis.
   22            Confronted by those undeniable facts, Plaintiffs argue that site environmental
   23   consultant EAI, the Regional Board, and Dr. Kulla all got it wrong. But none of
   24   their arguments withstand scrutiny as anything more than conjecture and
   25   speculation, literally contradicted by the facts in the ground (and the groundwater).
   26
   27
   28   15
             Wick Decl., Exh. C (Dr. Kulla Rebuttal Report, at 1).
                                                                             MOVING DEFENDANTS’
        88151-00029/4003405.2                        53
                                                                           JOINT REPLY ISO OF MSJS
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    1            A.        THERE IS NO DATA SHOWING THAT ANY SOIL
    2                      CONTAMINANTS CONTACTED THE WATER TABLE
    3                      1.   Soil Samples Above ESLs Do Not Mean that Contaminants
    4                           in Soil Impacted Groundwater
    5            Plaintiffs and their expert argue that because levels of PCE and TCE detected
    6   in a few soil samples at the Patsouras Property were above the San Francisco Bay
    7   Regional Water Quality Control Board Environmental Screening Levels (“ESLs”),
    8   then one can assume that those contaminants likely reached groundwater. (Opp. at
    9   43:22-27.) That is a complete distortion of the use and meaning of ESLs.
   10            ESLs are a preliminary screening tool designed to be used very early in the
   11   site investigation process to focus the investigation. The ESL User’s Guide
   12   explicitly rejects Plaintiffs’ assumptions about an ESL exceedance: “The presence
   13   of a chemical at concentrations exceeding an ESL does not necessarily indicate
   14   adverse effects on human health or the environment, rather that additional
   15   evaluation is warranted.”16
   16            When a chemical concentration exceeds the ESL it means only that
   17   “additional evaluation is warranted.”17 Here, “additional evaluation” was
   18   conducted, which demonstrated to the satisfaction of the Regional Board that the
   19   Patsouras Property was not impacting the OU-2 groundwater.
   20                      2.   Chromium Detected in a Two-Foot-Deep Sample Did Not
   21                           Contact Groundwater
   22            At least 60 soil samples were tested for chromium, and all were within
   23   background levels, except for one sample taken two feet below ground surface,
   24   which was 71.1 mg/kg, slightly above the background level of 64 mg/kg established
   25
   26
        16
           Id. at 4 (citing The User’s Guide: Derivation and Application of Environmental
   27   Screening Levels (ESLs) Prepared by: San Francisco Bay Regional Water Quality
        Control Board INTERIM FINAL 2019 (Revision 1, p. ii)(Wick Decl., Exh. K).
   28   17
           Id.
                                                                           MOVING DEFENDANTS’
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    1   by the County of Los Angeles. 18 Plaintiffs cite the national background level of
    2   30-36 mg/kg. to argue that the site chromium was not naturally occurring, but the
    3   Regional Board appropriately applied the actual concentrations of naturally-
    4   occurring chromium found in Los Angeles soils, and ruled out chromium as a
    5   contaminant of concern.
    6            Plaintiffs also argue that even the background-level chromium concentrations
    7   could include hexavalent chromium, and that the site investigation didn’t
    8   “adequately analyze” soil samples for hexavalent chromium. But, in addition to the
    9   low concentrations of total chromium, the Regional Board did not require sampling
   10   for hexavalent chromium because the Patsouras Property soil is anoxic (lacking
   11   oxygen). The Property soil contains rotting organic carbon and heavy oil from
   12   historical oil operations (which Plaintiffs say were conducted for at least 30 years
   13   (Opp. at 32:25-33-1)), which means the soil is “reducing.” Therefore, any
   14   hexavalent chromium in the soil would have been chemically reduced to harmless
   15   trivalent chromium long before it could have made its way 35 to 75 feet to
   16   groundwater, as Dr. Kulla explained:
   17
                        Under anoxic soil conditions, the chemical environment is reducing,
   18            transforming hexavalent chromium into trivalent chromium. Any hexavalent
   19            chromium spilled into the soil at the Patsouras Property would have been
                 readily chemically reduced to trivalent chromium. Trivalent chromium is the
   20            harmless form of chromium often added to human vitamins to aid in sugar
   21            metabolism. 19

   22            Finally, two significant facts from the groundwater investigation at and
   23   around the Property confirm that the Property has not contributed hexavalent
   24   chromium to the groundwater: (1) the upgradient groundwater flowing onto the
   25   Property already contains hexavalent chromium, 20 and (2) only de minimis
   26
   27   18
             Wick Decl., Exh. D (County of Los Angeles Public Health, chart at 6)._
        19
             Wick Decl., Exh. C (Dr. Kulla Rebuttal Report at 5).
   28   20
             Wick Decl., Exh. A (Dr. Kulla Expert Report at 8).
                                                                            MOVING DEFENDANTS’
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    1   concentrations of chromium were found in the groundwater under the Patsouras
    2   Property—below the drinking water standard (the Maximum Contaminant Level, or
    3   MCL). 21
    4                      3.   Two Borings with PCE Detections Do Not Show that PCE
    5                           Contacted Groundwater
    6            Plaintiffs argue PCE detected at low concentrations in two borings (B-7 and
    7   E-9) shows that PCE must have migrated far enough to contact the groundwater
    8   table (Opp. at 44-45.)
    9            Not so. The concentrations were low, 22 and the deepest samples with any
   10   concentration of PCE were found at 25 feet bgs in B-7 and at 30 feet bgs in E-9.
   11   Moreover, both soil samples were entrained in heavy oil. 23
   12            At the time of these samples were taken (in late 1994), the groundwater table
   13   was estimated at 35 ft bgs at the location of the borings, according to EAI. 24
   14   Moreover, the fact that a soil sample was taken at 35 feet bgs in boring B-7 for soil
   15   analysis indicates that the groundwater table was deeper than 35 feet bgs at this
   16   location. Even Mr. Mutch admitted that he did not find any evidence the
   17   groundwater table in the area of B-7 and E-9 was ever shallower 35.84 feet.25
   18            In boring B-7, PCE was found at a concentration of 0.51 mg/kg at a depth of
   19   25 feet bgs. The soil sample taken in soil boring B-7 at 35 feet bgs—ten feet
   20   deeper than the 25-foot sample—was “non-detect”—it had no PCE in it. The PCE
   21   in this soil boring indisputably was not found contacting the groundwater table. (In
   22
   23   21
           Id. (Dr. Kulla Expert Report at 5). Plaintiffs argue that even though the levels
        currently in the groundwater are safe to drink, “historical releases that have left the
   24   property” may have been higher. (Op. at 47:21-48:3.) The problem for Plaintiffs’
        conjecture is that there’s no evidence of historical releases of chromium at the
   25   Property   (see discussion, infra).
        22
           Id. (Dr. Kulla Expert Report at 4).
   26   23
           Id.
        24
           Wick Decl., Exh. F (PSI Report excerpt, 1994) and Exh. G (EAI Report expert,
   27   Dec.   18, 1995).
        25
           Mutch Tr. at 926:23-927:1). (upgradient well MW-2 was at depth of 32.14 feet in
   28   1997)(Mutch Tr. 957:10-959:5).
                                                                           MOVING DEFENDANTS’
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                                                                         JOINT REPLY ISO OF MSJS
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    1   fact, a deeper boring (to 70 feet bgs) was drilled next to B-7, and samples were non-
    2   detect for PCE below 20 feet bgs all the way down to 70 feet bgs. 26) Similarly, the
    3   detection in boring E-9 at 30 feet indisputably was not found contacting the
    4   groundwater table.27 Thus, the data confirm that the deepest borings in which PCE
    5   was detected did not contact the water table.
    6            But in their Opposition, Plaintiffs ignore the key fact that their own expert
    7   admitted: groundwater data show that groundwater was never higher than 35.84
    8   feet bgs in the area of the PCE samples for B-7 and E-9. Instead, Plaintiffs resort
    9   to pure conjecture—and to using a variety of creative adjectives—to suggest that
   10   the water table was higher, apparently hoping that their false linguistic contortions
   11   would somehow retroactively raise the depth of the water table (or at least fool the
   12   Court into thinking the water table was ever higher than 35.84 feet in that area).
   13   Then, they incessantly repeat those false characterizations, as if the dint of
   14   repetition can drown out the facts.
   15            Plaintiffs say that the water table was present at “around” 30 feet bgs,28 that
   16   the borings revealed PCE to be at the “effective depth” of the groundwater table, 29
   17   that water depths were “perhaps” as close as 25 feet bgs,” 30 and that samples at 25
   18   feet bgs were “down to, or very nearly down to, the water table,” 31 that a depth of
   19   25 feet bgs “was within a few feet of the depth of groundwater during this time
   20   period,” 32 and that “the groundwater table could have been as shallow as 25 feet
   21   bgs at times during this period.”33
   22
   23
        26
           Wick Decl., Exh C (Dr. Kulla Rebuttal Report, Table 2, p. 2).
   24   27
           Wick Decl., Exh. G (EAI Subsurface Investigation Report, Dec. 18, 1995, at
        PTFS00022647-8).
   25   28
           Opp. at 44:18-19 (emphasis added).
        29
           Opp. at 44:21-23 (emphasis added).
   26   30
           Opp. at 44:28-45:2; 47:11-13 (emphasis added).
        31
           Opp. at 31:24-27 (emphasis added).
   27   32
           Opp. at 41:17-19 (emphasis added).
        33
           Opp. at 41:19-21 (emphasis added).
   28
                                                                             MOVING DEFENDANTS’
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    1            All false. Plaintiffs know full well that the water table was never as “close as
    2   25 feet bgs,” and that the PCE was not detected at the depth of the groundwater
    3   table. Plaintiffs and Mr. Mutch provide no evidence—because there is none—that
    4   the groundwater table was ever shallower than 35.84 feet bgs at the location of soil
    5   borings B-7 and E-9.
    6                      4.   The Conjecture of Some Fire Department Employees (20
    7                           Years Before the Property Investigation Was Completed)
    8                           Was Based on an Erroneous Reading of the Data
    9            In the absence of actual site data to make their case, and with the Regional
   10   Board confirming after the Patsouras Property investigation was complete that soil
   11   contaminants did not contact the water table, Plaintiffs pin their hopes on two
   12   memos and a letter prepared by fire department employees. Plaintiffs say those
   13   documents show that the employees thought that contaminants in Property soil
   14   made their way to groundwater. However, that conjecture was made more than
   15   twenty (20) years before the Patsouras Property site investigation was completed,
   16   and the employees misinterpreted the data.
   17            Plaintiffs cite a memo authored by Steve Chase, “an employee” of the Santa
   18   Fe Springs Fire Department, stated that “historic Palley site operations
   19   contamination probably contributed to the VOC portion” of the groundwater under
   20   the Property and that PCE was found in a soil column [boring E-9] “from 10 feet
   21   bgs to 35 feet bgs.” (Opp. at 46:4-47:1). Plaintiffs also cite a letter from Chase’s
   22   boss (Dave Klunk) incorporating portions of Chase’s memo verbatim. (Opp. at
   23   47:1-5.) 34
   24            There is no indication that the fire department employees had the expertise to
   25   assess—or that they actually did assess—the issue of whether soil contaminants at
   26
   27   34
          Mr. Chase’s boss, Dave Klunk, relies on and then enhances Mr. Chase’s memo to
        say that there was “demonstration of HVOC contamination to GW” in a letter to the
   28   Regional Board. (Opp. at 47:1-5.)
                                                                             MOVING DEFENDANTS’
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    1   the Property migrated into the groundwater. However, the fact that Mr. Chase
    2   misinterpreted the sampling data indicates they did not have the expertise and did
    3   not carefully assess the migration issue. PCE was not found “from 10 feet bgs to 35
    4   feet bgs,” as Mr. Chase erroneously wrote, and as his boss Dave Klunk erroneously
    5   parroted in his letter. PCE was found at 30 feet bgs, not at 35 feet bgs. 35
    6            In any event, the fire department employees, realizing that they were
    7   metaphorically out of their depth (if not literally), asked the Regional Board to take
    8   responsibility for oversight of the Property. The Regional Board did, of course, and
    9   after overseeing an eight-year investigation, the Board concluded that the Property
   10   was not impacting groundwater.
   11            B.        THE DATA SHOW CONSISTENTLY HIGHER
   12                      CONCENTRATIONS OF CONTAMINANTS COMING ONTO
   13                      THE PROPERTY FROM UPGRADIENT PROPERTIES THAN
   14                      ON THE PROPERTY
   15            Kekropia’s environmental consultant EAI appropriately relied on the
   16   upgradient wells on the Pilot Chemical Property to assess whether contaminants
   17   from the Patsouras Property were being added to the groundwater contamination
   18   coming onto the Property from Pilot Chemical and other upgradient sources. The
   19   Regional Water Quality Control Board agreed with EAI that the Pilot Chemical
   20   wells were appropriate upgradient wells for assessing the Patsouras Property and
   21   concluded that the Patsouras Property was not contributing contaminants to the
   22   OU-2 Omega Plume. 36 The concentrations of PCE and TCE in the groundwater
   23   coming onto the Patsouras Property from upgradient sources are and have been
   24   consistently higher than the concentrations leaving the Property. 37
   25
   26
        35
           Wick Decl., Exh. G (EAI Subsurface Investigation Report, Dec. 18, 1995, at
   27   PTFS00022647-8).
        36
           Wick Decl., Exh. C (Dr. Kulla Rebuttal Report at 7-8).
   28   37
           Id. at Table 1.
                                                                           MOVING DEFENDANTS’
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    1                      1.   Plaintiffs’ Expert Admits that Assessing What Is Flowing
    2                           Onto a Property from Upgradient Properties Is Required,
    3                           But Fails to Do So Here
    4            Plaintiffs’ expert Mr. Mutch admitted that to evaluate whether a property is
    5   contributing contaminants to groundwater “requires, among other things, that I
    6   evaluate what is flowing from upgradient onto those properties.”38 He even
    7   admitted that the Pilot Chemical property “is probably at least partially upgradient
    8   to some parts of the [Patsouras] property.” 39 (Similarly, Plaintiffs really hedge their
    9   bets in their Opposition, saying that “many, if not most, of the Pilot Chemical wells
   10   may be cross-gradient, not upgradient, of the Patsouras Property.” (Opp. at 48:13-
   11   21.) But if that language is parsed carefully, it means that Plaintiffs are
   12   acknowledging that some of the Pilot Chemical wells must be upgradient—as Mr.
   13   Mutch himself actually did acknowledge).40
   14            However, Mr. Mutch violated his own admonition that in evaluating whether
   15   the Patsouras Property contributed contaminants to groundwater “requires”
   16   evaluating what is “flowing from upgradient” onto the Patsouras Property, because
   17   he admitted he did not consider any of the Pilot Chemical wells. 41 Perhaps his
   18   otherwise inexplicable failure to consider the upgradient Pilot Chemical wells was
   19   because he knew that the data from those wells was fatal to Plaintiffs’ case against
   20   the Patsouras Property Defendants.
   21                      2.   The Pilot Chemical Property Is Upgradient of the Patsouras
   22                           Property
   23            Plaintiffs argue that there are “three significant flaws” to what they call “Dr.
   24   Kulla’s analysis” that the Pilot Chemical wells are upgradient. (Opp. at 48:9-49:12.)
   25
   26   38
             Wick Decl., Exh. E (Mutch Tr. at 62:16-64:13).
        39
             Id. (Mutch Tr. at 769:25-770:8).
   27   40
             Id.
        41
             Id. (Mutch Tr. at 775:21-778:1).
   28
                                                                              MOVING DEFENDANTS’
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                                                                            JOINT REPLY ISO OF MSJS
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    1   Although it certainly is Dr. Kulla’s analysis, it’s not hers alone—it’s also the
    2   analysis of the Regional Water Quality Control Board, EAI, and the consultant for
    3   Pilot Chemical Company (AECOM) that the Pilot Chemical property is upgradient
    4   of the Patsouras Property. Plaintiffs say the state regulatory agency, the
    5   environmental consultants for the two properties, and Dr. Kulla are wrong for the
    6   following reasons:
    7            First, Plaintiffs say the Pilot Chemical property is “generally to the east of
    8   the Patsouras Property” (emphasis in original), and that the groundwater
    9   “generally” flows in a “south, southwest direction,” citing Dr. Kulla, “not in the
   10   more westerly direction suggested by the arrows in Figure 6.” (Opp. at 48:14-19.)
   11            Plaintiffs are correct that the Pilot Chemical property is generally to the east
   12   of the Patsouras Property, as Dr. Kulla’s Figure 6 shows. Plaintiffs are also correct
   13   that Dr. Kulla noted that “the contaminated groundwater originating from activities
   14   on the Omega Site is flowing from the [Omega] site in a general south,
   15   southwestward direction.”42 Then Plaintiffs argue that those two facts somehow
   16   discredit Dr. Kulla’s analysis and the Regional Board’s conclusion.
   17                           a.   EAI Determined the Groundwater in the Property
   18                                Area Flowed in a Westerly Direction
   19            In fact, however, while Dr. Kulla was correct in describing the groundwater
   20   flow from the Omega Site property in a general south, southwest direction, the flow
   21   is a bit different in the area of the Patsouras, Pilot Chemical, and Phibro-Tech
   22   properties. EAI determined, using groundwater elevation data from the Pilot
   23   Chemical and Phibro-Tech properties, that there was a “westerly ground water flow
   24   direction beneath the [Patsouras] Site, which is consistent for the area.” 43 Thus,
   25   EAI concluded that the Pilot Chemical Property was upgradient of the Patsouras
   26
   27    Wick Decl., Exh. A (Dr. Kulla Expert Report at 1).
        42
         Wick Decl., Exh. H (Excerpt from EAI Supplemental Site Assessment and First
        43
   28   Quarter 2010 Ground Water Monitoring Report, at 11).
                                                                              MOVING DEFENDANTS’
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    1   Property—i.e., groundwater flows west from Pilot to Patsouras.
    2                           b.   Dr. Kulla Agreed that Pilot Chemical Wells 5,6,7 and
    3                                8 Were Upgradient of the Patsouras Property Wells
    4            Plaintiffs also take issue with the fact that Dr. Kulla added her own
    5   interpretive arrow (even though she explicitly noted that she did so) to Figure 6 in
    6   her expert report, and Plaintiffs argue that Dr. Kulla offered “no basis whatever” for
    7   her opinion about groundwater flow (that was the “second flaw”) (Op. at 48:22-
    8   49:7.) Actually, Dr. Kulla’s opinion about the groundwater flow direction was
    9   formed after she reviewed of all the environmental reports submitted to the
   10   Regional Board relating to the Patsouras Property. She placed her interpretive
   11   groundwater flow arrow in a more westerly direction based on that review. She
   12   also corroborated her interpretation with additional analysis or her own, plotting the
   13   water level data from the relevant Pilot Chemical and Patsouras Property wells
   14   (based on where they were screened) and showing the gradient contours.44
   15            Plaintiffs’ “third flaw” is that the monitoring well network on the Patsouras
   16   Property alone is “inadequate to delineate flow direction,” and as a result Dr.
   17   Kulla’s set of well data is not “sufficient or reliable.” (Op. at 49:8-12.) Well, using
   18   data from upgradient properties near the Patsouras Property combined with data
   19   from the Patsouras Property is the best way to delineate flow direction—and that’s
   20   the approach Dr. Kulla, EAI and the Regional Board took; they didn’t rely solely on
   21   the Patsouras Property data.45
   22                           c.   Pilot Chemical’s Consultant Determined that the Pilot
   23                                Property Is Upgradient of the Patsouras Property
   24            The nail in the coffin of Plaintiffs’ argument that Pilot Chemical is not
   25   upgradient is the fact that the consultant for the Pilot Chemical property, AECOM,
   26   independently concluded that Pilot was upgradient of the Patsouras Property.
   27
        44
             Wick Decl., Exh. I (Dr. Kulla Contours).
   28   45
             See footnotes 43 and 44.
                                                                             MOVING DEFENDANTS’
        88151-00029/4003405.2                        62
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    1            Pilot Chemical was asked by the Regional Board to assess the downgradient
    2   flow of contaminants in groundwater from Pilot Chemical well MW-9 (located in
    3   the most southwestern corner of the Pilot property). 46 Pilot Chemical’s consultant
    4   determined that the groundwater flowed almost due west from Pilot Chemical well
    5   MW-9 to the red-hatched area of the Patsouras Property. 47 [See AECOM Figure 2
    6   at the bottom of the next page, with yellow highlights added showing MW-9 and
    7   the groundwater flow to the red-hatched area on the Patsouras Property. At the top
    8   of the next page is Dr. Kulla’s Figure 6, showing the same groundwater flow
    9   direction.] AECOM’s determination that Pilot Well MW-9 is upgradient of the
   10   southernmost portion of the Patsouras Property means that all the Pilot Chemical
   11   wells are upgradient of the Patsouras Property.
   12            Indeed, the groundwater flow direction contours on all three documents (Dr.
   13   Kulla’s Figure 6, Dr. Kulla’s Contours, and Pilot Chemical’s Figure 2 Contours),
   14   are virtually identical (all westerly/very slightly southwesterly). Most importantly,
   15   the contours all confirm that the wells Dr. Kulla used as upgradient to the Patsouras
   16   Property wells (Pilot Chemical wells 5, 6, 7, and 8) are indisputably upgradient of
   17   those wells.
   18            In short, the consistent pattern of lower contaminant concentrations in the
   19   downgradient groundwater in the Patsouras Property wells compared to the
   20   contaminant concentrations coming from upgradient groundwater onto the property
   21   from the Pilot Chemical wells shows that the Patsouras Property has not contributed
   22   contaminants to the groundwater.
   23
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        46
             Wick Decl., Exh. J (Pilot Chemical Letter and Figures, Figure 2).
   28   47
             Id.
                                                                            MOVING DEFENDANTS’
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                                                                          JOINT REPLY ISO OF MSJS
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    1   IV.      PLAINTIFFS FAIL TO MEET THEIR BURDEN
    2            A.        PLAINTIFFS FAIL TO PROVIDE ADMISSIBLE EVIDENCE
    3                      THAT PATSOURAS PROPERTY CONTAMINANTS HAVE
    4                      MIGRATED INTO THE GROUNDWATER
    5            Hydrologists ask two questions to assess whether a property has contributed
    6   to groundwater contamination:
    7            (1) Is there a demonstration that chemical contaminants in the soil have
    8   migrated down through the soil and contacted the water table?
    9            (2) Is there a consistent pattern of higher contaminant concentrations in the
   10   downgradient groundwater on the property than the contaminant concentrations
   11   coming from upgradient groundwater onto the property?
   12            Here the data show that the answers to both questions are “no.”
   13            Have Plaintiffs met their burden to designate specific facts showing that there
   14   is a genuine issue for trial?
   15            No.
   16            On the first question, there is no data showing that contaminants have
   17   migrated down through the soil and contacted the water table. In response,
   18   Plaintiffs make bald assertions, but those assertions are contradicted by their own
   19   expert’s admission that the water table in the area of the contaminants has never
   20   been lower than 35.84 feet bgs. Plaintiffs have failed to provide admissible
   21   evidence sufficient to raise a genuine issue of material fact about contaminants
   22   contacting the water table.
   23            On the second question, the data show that there is a consistent pattern of
   24   higher contaminant concentrations in the upgradient groundwater than in the wells
   25   on the Property. Environmental consultant EAI used groundwater elevation data
   26   from the adjacent Pilot Chemical and Phibro-Tech properties to determine the
   27   groundwater flow direction, which showed that groundwater was flowing onto the
   28   Patsouras Property from the Pilot Chemical property. The Regional Water Quality
                                                                            MOVING DEFENDANTS’
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    1   Control Board agreed with that conclusion, issued a No Further Action letter for the
    2   Property, and ordered the Property wells to be removed because there was no
    3   reason to monitor those wells for any Property contribution to the groundwater. Dr.
    4   Kulla came to the same conclusion. In response, Plaintiffs speculate that the
    5   upgradient wells may not have been upgradient. However, their own expert
    6   admitted that some of those wells were upgradient, but that he didn’t bother to
    7   assess those or any of the Pilot Chemical upgradient wells. Plaintiffs have failed to
    8   provide admissible evidence sufficient to raise a genuine issue of material fact
    9   contradicting the data-driven conclusions of EAI, the Regional Board and Dr. Kulla
   10   that contaminants from the Property did not impact the groundwater.
   11            B.        PLAINTIFFS FAIL TO MEET THEIR BURDEN REGARDLESS
   12                      OF THE LEGAL STANDARD APPLIED
   13            The Patsouras Property Defendants incorporate by reference the Moving
   14   Defendants’ Joint Reply Brief on Common Issue of Law. To defeat Moving
   15   Defendants’ motion, Plaintiffs must provide admissible evidence that hazardous
   16   substances present in the soil at the Patsouras Property during the Moving
   17   Defendants’ ownership or operation of the Property have contacted the groundwater
   18   table and that the groundwater under the Property has more contaminant
   19   concentrations that the groundwater flowing onto the Property from upgradient
   20   properties.
   21            Notably, even if the Court applies the “plausible pathway” standard Plaintiffs
   22   desperately seek, the result is the same because Plaintiffs have failed to provide
   23   admissible evidence sufficient to raise a genuine issue of material fact that there is a
   24   “plausible pathway” at the Patsouras Property for contaminants found in the soil to
   25   contact the groundwater. There may be a “possible pathway,” of course, but there’s
   26   a “possible pathway” on any property located above groundwater, and that would
   27   make anyone whose property happens to overly the Omega Plume liable. That’s
   28   why it’s not sufficient for Plaintiffs to produce admissible evidence of a mere
                                                                           MOVING DEFENDANTS’
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                                                                         JOINT REPLY ISO OF MSJS
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    1   “possible pathway.” Asarco, LLC v. Cemex, Inc., 21 F.Supp.3d 784, 807 (W.D.
    2   Texas 2014). Plaintiffs must show, with more than a scintilla of admissible
    3   evidence, that there is a “plausible pathway” for contaminants found in the soil to
    4   enter the groundwater and they have not done so:
    5
                       The Court notes that a ‘possible’ migration pathway … is not a
    6            ‘plausible’ migration pathway. … A speculative migration pathway is not a
    7            plausible one. Rather, the Court must conduct an inquiry into the facts as a
                 whole—considering factors such as the location of the cleanup site and
    8            defendant's facility, the geology and hydrology of the area, and the nature
    9            and quantity of the contamination—to determine whether it is more likely
                 than not that the release from defendant's facility could have migrated to the
   10            cleanup site. Cf. Thomas, 846 F. Supp. at 1390 (listing possible factors to
   11            weigh when determining causation).
        Id.
   12
                 In Thomas, the court concluded that the expert’s opinions were “concocted of
   13
        impermissible bootstrapping of speculation upon conjecture,” because all the expert
   14
        could say was that there was a "likelihood" that someone "could" have contributed
   15
        to the contamination, or there is "reason to believe" that someone could be a
   16
        "potential contributor." Thomas v. Fag Bearings Corp., 846 F.Supp. 1382, 1394
   17
        (W.D. Mo. 1994).
   18
                 Sound familiar? That aptly describes Plaintiffs’ expert’s speculation and
   19
        conjecture here. Plaintiffs have not provided admissible evidence of a “plausible
   20
        pathway” between the deepest contaminants in the soil and the deeper groundwater
   21
        table.
   22
        V.       CONCLUSION
   23
                 The Patsouras Property Defendants can be liable to Plaintiffs under CERCLA
   24
        only if hazardous substances in the Property soil traveled 35 to 74 feet below
   25
        ground surface, entered into the groundwater, and then commingled with the
   26
        Omega Plume, causing Plaintiffs to incur response costs. There isn’t more than a
   27
   28
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    1   scintilla of evidence that that has happened, or that there is a “plausible pathway”
    2   for that to have happened.
    3            The Motion for Summary Judgment should be granted.
    4
    5    DATED: April 15, 2021                 WACTOR & WICK LLP
    6
    7                                    By:          /s/ William D. Wick
                                               William D. Wick
    8                                          Attorneys for Defendant Halliburton
                                               Affiliates, LLC
    9
   10                                          BASSI EDLIN HUIE & BLUM LLP
         DATED: April 15, 2021
   11
   12
                                         By:         /s/ Farheena A. Habib
   13                                          Farheena A. Habib
   14                                          Attorneys for Interveners Fireman’s Fund
                                               Insurance Company and Federal Insurance
   15                                          Company, as Insurers for Palley Supply
   16                                          Company
   17
         DATED: April 15, 2021                 OTTEN LAW, PC
   18
   19                                    By:         /s/ Victor Otten
   20                                          Victor Otten
                                               Attorneys for Defendant Kekropia, Inc.
   21
   22
   23
   24
   25
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   28
                                                                          MOVING DEFENDANTS’
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    1        CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
    2            I, Peter A. Nyquist, am the ECF user whose ID and password are being used
    3   to file MOVING DEFENDANTS JOINT REPLY IN SUPPORT OF MSJS RE:
    4   CERCLA LIABILITY. In compliance with C.D. Cal. Civ. L.R. 5-4.3.4(a)(2)(i), I
    5   hereby attest that I have obtained the concurrence of each signatory to this
    6   document.
    7
         DATED: April 15, 2021                  GREENBERG GLUSKER FIELDS
    8                                           CLAMAN & MACHTINGER LLP
    9
   10                                     By:          /s/ Peter A. Nyquist
                                                Peter A. Nyquist
   11                                           Sedina L. Banks
   12                                           Sherry E. Jackman
                                                Attorneys for Defendant Union Pacific
   13                                           Railroad Company
   14
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                                                                          MOVING DEFENDANTS’
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                                                                        JOINT REPLY ISO OF MSJS
